Case 23-11069-CTG   Doc 371-3   Filed 08/30/23   Page 1 of 84




                       EXHIBIT B

                    Nash Declaration
                  Case 23-11069-CTG            Doc 371-3        Filed 08/30/23         Page 2 of 84




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                               Debtors.                              )     (Jointly Administered)
                                                                     )

                             DECLARATION OF
              PATRICK J. NASH, JR. IN SUPPORT OF THE DEBTORS’
             APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
      AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF AUGUST 6, 2023

             I, Patrick J. Nash Jr., being duly sworn, state the following under penalty of perjury:

             1.       I am the president of Patrick J. Nash, Jr., P.C., a partner of the law firm of Kirkland

& Ellis LLP, located at 300 North La Salle Street, Chicago, Illinois 60654, and a partner of

Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP, collectively,
                  2
“Kirkland”).          I am one of the lead attorneys from Kirkland working on the above-captioned

chapter 11 cases. I am a member in good standing of the Bar of the State of Illinois, and I have

been admitted to practice in the U.S. Court of Appeals for the Sixth Circuit, the U.S. District Court

for the Northern District of Illinois, and the U.S. District Court for the Eastern District of Michigan.

There are no disciplinary proceedings pending against me.




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
              Case 23-11069-CTG               Doc 371-3            Filed 08/30/23      Page 3 of 84




        2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession
                                                               3
Effective as of August 6, 2023 (the “Application”). Except as otherwise noted, I have personal

knowledge of the matters set forth herein.

                                          Kirkland’s Qualifications

        4.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

business reorganizations under chapter 11 of the Bankruptcy Code.

        5.       Kirkland has been actively involved in major chapter 11 cases and has represented

debtors in many cases, including, among others: In re PGX Holdings, Inc., No. 23-10718 (CTG)

(Bankr. D. Del. June 4, 2023); In re Lannett Company, Inc., No. 23-10559 (JKS) (Bankr. D. Del.

May 2, 2023); In re SiO2 Medical Products, No. 23-10366 (JTD) (Bankr. D. Del. Mar. 29, 2023);

In re Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Aug. 22, 2022); In re Riverbed
                                                                                        4
Technology, Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 15, 2021).

        6.       In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

has become familiar with the Debtors’ business and many of the potential legal issues that may

arise in the context of these chapter 11 cases. I believe that Kirkland is both well-qualified and

uniquely able to represent the Debtors in these chapter 11 cases in an efficient and timely manner.




3
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
4
    Because of the voluminous nature of the orders cited in this Declaration, they are not attached to this Declaration.
    Copies of these orders are available upon request to Kirkland.

                                                          2
            Case 23-11069-CTG          Doc 371-3     Filed 08/30/23     Page 4 of 84




                                    Services to Be Provided

       7.      Subject to further order of the Court and that certain engagement letter dated

July 27, 2023 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the Order,

the Debtors retained Kirkland to render, without limitation, the following legal services:

               a.     advising the Debtors with respect to their powers and duties as debtor in
                      possession in the continued management and operation of their properties;

               b.     advising and consulting on the conduct of these chapter 11 cases, including
                      all of the legal and administrative requirements of operating in chapter 11;

               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
                      Debtors’ leases and contracts and the assumption and assignment or
                      rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                      assets; and (iii) advising the Debtors on corporate and litigation matters.


                                                 3
                  Case 23-11069-CTG           Doc 371-3         Filed 08/30/23          Page 5 of 84




                                         Professional Compensation

        8.          Kirkland intends to apply for compensation for professional services rendered on

an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

debtor representations, and are comparable to the hourly rates and corresponding rate structure that

Kirkland uses for complex corporate, securities, and litigation matters whether in court or

otherwise, regardless of whether a fee application is required. These rates and the rate structure

reflect that such restructuring and other complex matters typically are national in scope and involve

great complexity, high stakes, and severe time pressures.

        9.          Kirkland operates in a national marketplace for legal services in which rates are

driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

        10.         Kirkland’s current hourly rates for matters related to these chapter 11 cases range
              5
as follows:




5
    For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
    currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
    conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
    the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
    an individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the ranges disclosed
    above, Kirkland does not intend to update the ranges for such circumstances.

                                                           4
              Case 23-11069-CTG               Doc 371-3         Filed 08/30/23         Page 6 of 84




                               Billing Category
                                                     6               U.S. Range
                                     Partners                      $1,195-$2,245
                                   Of Counsel                       $820-$2,125
                                   Associates                       $685-$1,395
                               Paraprofessionals                     $295-$575

        11.      Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

the work of its attorneys and paralegals and to cover fixed and routine expenses. Hourly rates vary

with the experience and seniority of the individuals assigned. These hourly rates are subject to
                                                                            7
periodic adjustments to reflect economic and other conditions.

        12.      It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

non-overhead expenses incurred in connection with the client’s case that would not have been

incurred except for representation of that particular client. It is also Kirkland’s policy to charge

its clients only the amount actually incurred by Kirkland in connection with such items. Examples

of such expenses include postage, overnight mail, courier delivery, transportation, overtime

expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

        13.      To ensure compliance with all applicable deadlines in these chapter 11 cases,

Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these services

pursuant to the Engagement Letter between Kirkland and the Debtors, which permits Kirkland to


6
    Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
    that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
    to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
    Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
    accordance with the requirements of the Bankruptcy Code.
7
    For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
    paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
    basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
    paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
    used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
    Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
    the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
    committee before implementing any periodic increases, and shall file such notice with the Court.

                                                          5
             Case 23-11069-CTG         Doc 371-3      Filed 08/30/23     Page 7 of 84




bill the Debtors for overtime secretarial charges that arise out of business necessity. In addition,

Kirkland professionals also may charge their overtime meals and overtime transportation to the

Debtors consistent with prepetition practices.

       14.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

Kirkland will charge no more than $0.10 per page for standard duplication services in these

chapter 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions.

Kirkland has negotiated a discounted rate for Westlaw computer-assisted legal research.

Computer-assisted legal research is used whenever the researcher determines that using Westlaw

is more cost effective than using traditional (non-computer assisted legal research) techniques.

                    Compensation Received by Kirkland from the Debtors

       15.     Per the terms of the Engagement Letter, on July 11, 2023, the Debtors paid

$1.5 million to Kirkland, which, as stated in the Engagement Letter, constituted a “special purpose

retainer” (also known as an “advance payment retainer”) as defined in Rule 1.5(d) of the Illinois

Rules of Professional Conduct and Dowling v. Chicago Options Assoc., Inc., 875 N.E.2d 1012,

1018 (Ill. 2007). Subsequently, the Debtors paid to Kirkland additional special purpose retainer

totaling $5.55 million in the aggregate. As stated in the Engagement Letter, any special purpose

retainer is earned by Kirkland upon receipt, any special purpose retainer becomes the property of

Kirkland upon receipt, the Debtors no longer have a property interest in any special purpose

retainer upon Kirkland’s receipt, any special purpose retainer will be placed in Kirkland’s general

account and will not be held in a client trust account, and the Debtors will not earn any interest on




                                                 6
                Case 23-11069-CTG               Doc 371-3         Filed 08/30/23         Page 8 of 84



                                     8
any special purpose retainer.            A chart identifying the statements setting forth the professional

services provided by Kirkland to the Debtors and the expenses incurred by Kirkland in connection

therewith, as well as the special purpose retainer transferred by the Debtors to Kirkland, prior to

the Petition Date is set forth below.

          16.      During the 90-day period before the Petition Date, the Debtors paid special purpose

retainer in the following amounts to Kirkland:

                                                                      Amount of         Amount of          Resulting
                                               Amount of Fees
                                                                       Special            Special           Special
          Type of                               and Expenses
                                  Date                                 Purpose           Purpose            Purpose
        Transaction                               Listed on
                                                                       Retainer          Retainer          Retainer
                                                 Statement
                                                                      Requested          Received          Following
    Statement of Fees and
                               3/15/2023             $187,869.92
           Expenses
    Statement of Fees and
                               3/15/2023                23,633.85
           Expenses
    Statement of Fees and
                               3/15/2023              $28,740.00
           Expenses
    Statement of Fees and
                               3/31/3023             $152,336.37
           Expenses
      Initial Request for
       Special Purpose         6/20/2023                             $1,500,000.00
            Retainer
       Receipt of Initial
       Special Purpose         7/11/2023                                               $1,500,000.00     $1,107,419.86
            Retainer
      Additional Special
    Purpose Retainer (Full     7/25/2023                             $4,800,000.00
          Statement)
    Receipt of Additional
       Special Purpose         7/26/2023                                               $4,800,000.00     $5,907,419.86
            Retainer
    Statement of Fees and
                               7/31/2023             $122,828.98                                         $5,784,590.88
           Expenses
    Statement of Fees and
                               7/31/2023                $8,384.50                                        $5,776,206.38
           Expenses
    Statement of Fees and
                               7/31/2023             $449,808.70                                         $5,326,397.68
           Expenses

8
      The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition special purpose
      retainer during the pendency of a chapter 11 case rather than applying such special purpose retainer to postpetition
      fees and expenses. Kirkland evaluates whether to retain any remaining prepetition special purpose retainer on a
      case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition special
      purpose retainer but, instead, will apply any remaining special purpose retainer to postpetition fees and expenses
      as such fees and expenses are allowed by the Court.

                                                            7
             Case 23-11069-CTG         Doc 371-3       Filed 08/30/23    Page 9 of 84



 Statement of Fees and
                          7/31/2023        $887,456.08                                 $4,438,941.60
       Expenses
 Statement of Fees and
                          7/31/2023         $78,125.50                                 $4,360,816.10
       Expenses
 Statement of Fees and
                          7/31/2023         $87,892.00                                 $4,272,924.10
       Expenses
 Statement of Fees and
                          7/31/2023      $1,847,672.27                                 $2,425,251.83
       Expenses
 Statement of Fees and
                          8/2/2023         $704,192.96                                 $1,721,058.87
       Expenses
   Additional Special
 Purpose Retainer (Full   8/3/2023                        $750,000.00
      Statement)
 Receipt of Additional
    Special Purpose       8/3/2023                                       $750,000.00   $2,471,058.87
       Retainer

       17.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

services rendered before the Petition Date. In March 2023, Kirkland had four outstanding invoices

totaling $392,580.14. Kirkland applied the special purpose retainer received on July 11, 2023 to

those outstanding invoices. Kirkland does not concede that the application of the special purpose

retainer to those invoices constituted a voidable preference. However, in light of the decision in

In re Pillowtex, Inc., 304 F.3d 246 (3d Cir. 2022), Kirkland has agreed with the Debtors that it will

give a credit for postpetition work in the full amount of those invoices (i.e., $392,580.14).

       18.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared nor agreed to share

(a) any compensation it has received or may receive with another party or person, other than with

the partners, associates, and contract attorneys associated with Kirkland or (b) any compensation

another person or party has received or may receive.

                          Statement Regarding U.S. Trustee Guidelines

       19.      Kirkland shall apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

                                                 8
             Case 23-11069-CTG        Doc 371-3      Filed 08/30/23     Page 10 of 84




Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

information and additional disclosures as set forth in the Guidelines for Reviewing Applications

for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST Guidelines”), both

in connection with this Application and the interim and final fee applications to be filed by

Kirkland in these chapter 11 cases.

                  Attorney Statement Pursuant to Revised UST Guidelines

       20.            The following is provided in response to the request for additional

information set forth in Paragraph D.1. of the Revised UST Guidelines:

               a. Question: Did Kirkland agree to any variations from, or alternatives to,
                  Kirkland’s standard billing arrangements for this engagement?

                  Answer: No. Kirkland and the Debtors have not agreed to any variations from,
                  or alternatives to, Kirkland’s standard billing arrangements for this
                  engagement. The rate structure provided by Kirkland is appropriate and is not
                  significantly different from (a) the rates that Kirkland charges for other
                  non-bankruptcy representations or (b) the rates of other comparably skilled
                  professionals.

               b. Question: Do any of the Kirkland professionals in this engagement vary their
                  rate based on the geographic location of the Debtors’ chapter 11 cases?

                  Answer: No. The hourly rates used by Kirkland in representing the Debtors are
                  consistent with the rates that Kirkland charges other comparable chapter 11
                  clients, regardless of the location of the chapter 11 case.

               c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                  disclose Kirkland’s billing rates and material financial terms for the prepetition
                  engagement, including any adjustments during the 12 months prepetition. If
                  Kirkland’s billing rates and material financial terms have changed postpetition,
                  explain the difference and the reasons for the difference.




                                                 9
              Case 23-11069-CTG              Doc 371-3        Filed 08/30/23         Page 11 of 84




                      Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                                                9
                      Debtors range as follows:

                                Billing Category                   U.S. Range
                                     Partners                     $1,195-$2,245
                                   Of Counsel                      $820-$2,125
                                    Associates                     $685-$1,395
                                Paraprofessionals                   $295-$575

                      Kirkland represented the Debtors from August 1, 2022 to December 31, 2022,
                      using the hourly rates listed below:


                                Billing Category                   U.S. Range
                                     Partners                     $1,135-$1,995
                                   Of Counsel                      $805-$1,845
                                    Associates                     $650-$1,245
                                Paraprofessionals                   $265-$495



                 d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                    and, if so, for what budget period?

                      Answer: Yes, for the period from August 6, 2023 through December 1, 2023.

                                        Kirkland’s Disinterestedness

        21.      In connection with its proposed retention by the Debtors in these chapter 11 cases,

Kirkland undertook to determine whether it had any conflicts or other relationships that might

cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

Specifically, Kirkland obtained from the Debtors and their representatives the names of individuals

and entities that may be parties in interest in these chapter 11 cases (the “Potential Parties in

Interest”) and such parties are listed on Schedule 1 hereto. Kirkland has searched its electronic

database for its connections to the entities listed on Schedule 1 hereto. In addition, after Kirkland


9
    While the rate ranges provided for in this Application may change if an individual leaves or joins Kirkland, and
    if any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update
    the ranges for such circumstances.

                                                         10
               Case 23-11069-CTG               Doc 371-3        Filed 08/30/23          Page 12 of 84




identified all client connections with the parties in interest over a specified time period, Kirkland

circulated a survey email to all Kirkland attorneys who billed 10 or more hours to such clients

during the prior six years. Further, beyond the individual emails, Kirkland sent a daily report of

new matters firm wide. All Kirkland attorneys are responsible for reviewing the daily report of

new matters and raising any potential concerns with respect to new representations. Kirkland did

not receive any answers in the affirmative to these emails. Additionally, to the extent that I have

been able to ascertain that Kirkland has been retained within the last three years to represent any

of the Potential Parties in Interest (or their affiliates, as the case may be) in matters unrelated to

these cases, such facts are disclosed on Schedule 2 attached hereto.

         22.       Kirkland and certain of its partners and associates may have in the past represented,

may currently represent, and likely in the future will represent, entities that may be parties in

interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched its electronic

database for its connections to the entities listed on Schedule 1 attached hereto. The information

listed on Schedule 1 may have changed without our knowledge and may change during the

pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

necessary and when Kirkland becomes aware of additional material information. The following
                                                                 10
is a list of the categories that Kirkland has searched:

 Schedule         Category
 1(a)             5% or More Equity Holders
 1(b)             Bankruptcy Judges, Staff, and U.S. Trustee Personnel for the United States
                  Bankruptcy Court for the District of Delaware
 1(c)             Debtor Professionals

10
     Kirkland’s inclusion of parties in the following Schedules is solely to illustrate Kirkland’s conflict search process
     and is not an admission that any party has a valid claim against the Debtors or that any party properly belongs in
     the schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.

                                                           11
               Case 23-11069-CTG               Doc 371-3        Filed 08/30/23          Page 13 of 84




 1(d)             Banks, Lenders, and Administrative Agents
 1(e)             Committee Members
 1(f)             Committee Professionals
 1(g)             Current Directors and Officers
 1(h)             Customers
 1(i)             Debtors
 1(j)             Environmental Related Parties
 1(k)             Insurance Providers and Agents
 1(l)             Litigation and Subrogation Claims
 1(m)             Material Contract Counterparties
 1(n)             Non-Debtors
 1(o)             Other Restructuring Professionals
 1(p)             Significant Vendors
 1(q)             Surety and Letters of Credit Issuers
 1(r)             Taxing Authorities, Governmental Agencies, and Regulatory Agencies
 1(s)             Top 30 Creditors
 1(t)             UCC Lien Parties
 1(u)             Unions
 1(v)             Union Funds

         23.       To the best of my knowledge, (a) Kirkland is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

(b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest, except

as may be disclosed in this Declaration.

         24.       Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts
                                             11
searches of the above-listed entities.            For the avoidance of doubt, Kirkland will not commence a



11
     As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
     search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
     Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
     whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
     term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
     posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
     Whether an actual client relationship exists can only be determined by reference to the documents governing
     Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
     from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
                                                           12
               Case 23-11069-CTG             Doc 371-3        Filed 08/30/23       Page 14 of 84




cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this

Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist

or is not obtained from such entity and it is necessary for the Debtors to commence an action

against that entity, the Debtors will be represented in such particular matter by conflicts counsel.

         25.    Of the entities listed on Schedule 2, one is a portfolio company of an entity that

represented more than one percent of Kirkland’s fee receipts for the twelve-month period ending
                     12
on July 31, 2023.         Motus LLC is a vendor of the Debtors and is a portfolio company of Thoma

Bravo LP. Thoma Bravo LP represented more than one percent of Kirkland’s fee receipts for the

twelve-month period ending on July 31, 2023. I do not believe that any current or prior

representation of Thoma Bravo LP precludes Kirkland from meeting the disinterestedness standard

under the Bankruptcy Code.

         26.      Kirkland’s conflicts search of the entities listed on Schedules 1(a) – 1(v) that

Kirkland was able to locate using its reasonable efforts) reveals, to the best of my knowledge, that

those Kirkland attorneys and paraprofessionals who previously worked at other law firms that

represented such entities in these chapter 11 cases have not worked on matters relating to the

Debtors’ restructuring efforts while at Kirkland.

         27.      Based on the conflicts search conducted to date and described herein, to the best of

my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able



     with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
     connections if time was billed more than 36 months before the Petition Date.
12
     Specific percentages will be disclosed to the U.S. Trustee upon request.

                                                         13
             Case 23-11069-CTG         Doc 371-3      Filed 08/30/23     Page 15 of 84




to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

their respective attorneys and accountants, the United States Trustee for the District of Delaware

(the “U.S. Trustee”), any person employed by the U.S. Trustee, or any Bankruptcy Judge currently

serving on the United States Bankruptcy Court for the District of Delaware, except as disclosed or

otherwise described herein.

       28.     Kirkland will review its files periodically during the pendency of these chapter 11

cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

identify such further developments and will promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).

       29.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental

declarations, unless the circumstances are such in the latter capacity that additional disclosure is

required.

       30.     From time to time, certain former partners of Kirkland are entitled to compensation

for a limited period of time following their departure from the firm.

       31.     From time to time, Kirkland has referred work to other professionals to be retained

in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

       32.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

insurance companies may be involved in these chapter 11 cases. None of these insurance




                                                 14
             Case 23-11069-CTG         Doc 371-3       Filed 08/30/23      Page 16 of 84




companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

of Kirkland clients.

                                        Specific Disclosures

       33.     As specifically set forth below and in the attached exhibits, Kirkland represents

certain of the Debtors’ creditors, lenders, or other entities that may be parties in interest in ongoing

matters unrelated to the Debtors and these chapter 11 cases. None of the representations described

herein are materially adverse to the interests of the Debtors’ estates. Moreover, pursuant to

section 327(c) of the Bankruptcy Code, Kirkland is not disqualified from acting as the Debtors’

counsel merely because it represents certain of the Debtors’ creditors, equity security holders, or

other entities that may be parties in interest in matters unrelated to these chapter 11 cases.

A.     Connections to Officers and Directors.

       34.     As disclosed below and on Schedule 2, Kirkland, in the past has represented certain

affiliates, subsidiaries and entities associated with the Debtors’ current and recent former officers

and directors. I do not believe that Kirkland’s prior representation of the affiliates, subsidiaries,

and entities associated with certain officers and directors precludes Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.

       35.     Patricia M Nazemetz, a director of the Debtors, has served, or may serve from time

to time, in various management and/or director capacities of certain Kirkland clients or affiliates

thereof. I do not believe that Kirkland’s current or prior representation of clients for which Ms.

Nazemetz serves or has served in management and/or director capacities precludes Kirkland from

meeting the disinterestedness standard under the Bankruptcy Code.




                                                  15
             Case 23-11069-CTG        Doc 371-3      Filed 08/30/23     Page 17 of 84




B.     Connections to Other Entities.

       36.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, Apollo Global Management, Inc. and various of its subsidiaries and affiliates

(collectively, “Apollo”) on a variety of matters. Apollo was one of the Debtors’ prepetition

lenders.   Apollo exited the Debtors’ capital structure shortly following the Petition Date.

Kirkland’s current and prior representations of Apollo have been in matters unrelated to the

Debtors or these chapter 11 cases. Kirkland has not represented, and will not represent, Apollo in

connection with any matter in these chapter 11 cases during the pendency of these chapter 11 cases.

I do not believe that Kirkland’s current or prior representations of Apollo precludes Kirkland from

meeting the disinterestedness standard under the Bankruptcy Code.

       37.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, Citadel LLC and various of its subsidiaries and affiliates (collectively, “Citadel”) on

a variety of matters. Citadel is the current holder of the Debtors’ prepetition secured term loan

and a provider of debtor in possession financing. Kirkland’s current and prior representations of

Citadel have been in matters unrelated to the Debtors or these chapter 11 cases. Kirkland has not

represented, and will not represent, Citadel in connection with any matter in these chapter 11 cases

during the pendency of these chapter 11 cases. I do not believe that Kirkland’s current or prior

representations of Citadel precludes Kirkland from meeting the disinterestedness standard under

the Bankruptcy Code

       38.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, HSBC Holdings plc, ING Bank N.V., The PNC Financial Services Group, Siemens

AG, and Wells Fargo Bank N.A., Bank of America, N.A., and/or certain of their affiliates

(collectively, the “Specified Parties”) on a variety of matters. The Specified Parties comprise one

                                                16
             Case 23-11069-CTG        Doc 371-3      Filed 08/30/23    Page 18 of 84




or more of the following: (a) the Debtors’ bank or (b) administrative agent to the Debtors.

Kirkland’s current and prior representation of the Specified Parties has been in matters unrelated

to the Debtors or these chapter 11 cases. Kirkland has not represented, and will not represent, the

Specified Parties in connection with any matter in these chapter 11 cases during the pendency of

these chapter 11 cases. I do not believe that Kirkland’s current or prior representation of the

Specified Parties precludes Kirkland from meeting the disinterestedness standard under the

Bankruptcy Code.

       39.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, certain of the Debtors’ vendors and/or their affiliates and employees, including

Honeywell International Inc., KPMG LLP, American Securities LLC, Belk, Inc, The Dun and

Bradstreet Corporation, EQT AB, AT&T Services, Inc., Chevron Corporation, BC Partners, Dell

Technologies Inc., Verizon Communications Inc, Sedgwick Claims Management Services, Inc.,

Mode Transportation, LLC, IBM Corporation, Old Republic National Title Holding Co., and

World Fuel Services (the “Vendor Parties”), on a variety of matters. Kirkland’s current and prior

representation of the Vendor Parties has been in matters unrelated to the Debtors or these chapter

11 cases. Kirkland has not represented, and will not represent, any of the Vendor Parties in

connection with any matter in these chapter 11 cases during the pendency of these chapter 11 cases.

I do not believe that Kirkland’s current or prior representation of the Vendor Parties precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       40.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, certain of the Debtors’ customers and/or their affiliates and employees, including AB

Volvo, Cornerstone Building Brands, Inc., Staples, Inc., Walmart Inc., Nissan Motor Co., Ltd.,

Odyssey Logistics & Technology Corporation, Gryphon Investors Inc., Transportation Insight,

                                                17
             Case 23-11069-CTG         Doc 371-3      Filed 08/30/23     Page 19 of 84




LLC, and Sycamore Partners Management, L.P. (the “Customer Parties”) on a variety of matters.

Kirkland’s current and prior representation of the Customer Parties has been in matters unrelated

to the Debtors or these chapter 11 cases. Kirkland has not represented, and will not represent, any

of the Customer Parties in connection with any matter in these chapter 11 cases during the

pendency of these chapter 11 cases. I do not believe that Kirkland’s current or prior representation

of the Customer Parties precludes Kirkland from meeting the disinterestedness standard under the

Bankruptcy Code.

C.     Other Chapter 11 Professionals.

       41.     As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, certain affiliates, subsidiaries, and entities associated with various professionals that

the Debtors seek to retain in connection with these chapter 11 cases. Kirkland’s current and prior

representations of these professionals have been in matters unrelated to the Debtors or these

chapter 11 cases. Kirkland has not represented, and will not represent, any such professionals in

connection with any matter in these chapter 11 cases during the pendency of these chapter 11 cases.

I do not believe that Kirkland’s current or prior representation of these professionals precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       42.     The Debtors’ proposed restructuring advisor is Alvarez & Marsal North America,

LLC (“A&M Advisory”). As disclosed on Schedule 2, Kirkland represents Alvarez & Marsal,

Inc. (“A&M Inc.”), Alvarez & Marsal Capital, LLC (“A&M Capital”), AMCP Security Holdings

L.P. / Centerra Group, LLC, Alvarez & Marsal Tax and UK LLP, and affiliated entities in matters

unrelated to the Debtors and these chapter 11 cases. In addition, subject to the parameters

discussed in the Kirkland Attorney and Employee Investments section of this Declaration,

Kirkland person(s) have invested in one or more funds affiliated with A&M Capital. I do not

                                                 18
              Case 23-11069-CTG       Doc 371-3      Filed 08/30/23     Page 20 of 84




believe that Kirkland’s representation of these parties precludes Kirkland from meeting the

disinterestedness standard under the Bankruptcy Code.

        43.     The Committee has retained Huron Consulting Group Inc. (“Huron”) as its

proposed financial advisor. As disclosed on Schedule 2, Kirkland currently represents, and in the

past has represented, Huron on a variety of matters. Kirkland’s current and prior representations

of Huron have been in matters unrelated to the Debtors or these chapter 11 cases. Kirkland has

not represented, and will not represent, Huron, in connection with any matter in these chapter 11

cases during the pendency of these chapter 11 cases. I do not believe that Kirkland’s representation

of Huron precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy

Code.

        44.     FTI Consulting, Inc. was engaged by one of the Debtors’ lenders as its proposed

financial advisor. As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, FTI Consulting, Inc. and certain of its affiliates and employees (collectively, “FTI”)

on a variety of matters. Kirkland’s current and prior representations of FTI have been in matters

unrelated to the Debtors or these chapter 11 cases. Kirkland has not represented, and will not

represent, FTI in connection with any matter in these chapter 11 cases during the pendency of these

chapter 11 cases. I do not believe that Kirkland’s current or prior representation of FTI precludes

Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

        45.     The Debtors’ prepetition ABL agent has retained AlixPartners LLP as its proposed

financial advisor. As disclosed on Schedule 2, Kirkland currently represents, and in the past has

represented, AlixPartners LLP and certain of its affiliates and employees (collectively, “Alix”) on

a variety of matters. Kirkland’s current and prior representations of Alix have been in matters

unrelated to the Debtors or these chapter 11 cases. Kirkland has not represented, and will not

                                                19
             Case 23-11069-CTG       Doc 371-3      Filed 08/30/23    Page 21 of 84




represent, Alix in connection with any matter in these chapter 11 cases during the pendency of

these chapter 11 cases. I do not believe that Kirkland’s current or prior representation of Alix

precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code

D.     Kirkland Attorney and Employee Investments.

       46.     From time to time, Kirkland partners, of counsel, associates, and employees

personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

hedge funds, and other types of investment funds (the “Investment Funds”), through which such

individuals indirectly acquire an interest in debt or equity securities of many companies, one of

which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially

less than one percent of such Investment Fund, does not manage or otherwise control such

Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

any particular security. The Investment Fund is generally operated as a blind pool, meaning that

when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not

know what securities the blind pool Investment Fund will purchase or sell, and have no control

over such purchases or sales.

       47.     From time to time one or more Kirkland partners and of counsel voluntarily choose

to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

                                               20
             Case 23-11069-CTG         Doc 371-3      Filed 08/30/23     Page 22 of 84




any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

Passive-Intermediary Entity often arranges for statements and communications from certain

Investment Funds to be sent solely to a blind administrator who edits out all information regarding

the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the

identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

such Known Holdings are submitted to Kirkland’s conflict checking system.

       48.     From time to time, Kirkland partners, of counsel, associates, and employees

personally directly acquire a debt or equity security of a company which may be (or become) one

of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

a long-standing policy prohibiting attorneys and employees from using confidential information

that may come to their attention in the course of their work, so that all Kirkland attorneys and

employees are barred from trading in securities with respect to which they possess confidential

information.

E.     Former Clerks.

       49.     The following Kirkland employees had clerkships in the United States Bankruptcy

Court for Delaware during the last three years (together, the “Former Clerks”). I do not believe




                                                 21
             Case 23-11069-CTG        Doc 371-3       Filed 08/30/23    Page 23 of 84




that the Former Clerk’s work for the Court precludes Kirkland from meeting the disinterestedness

standard under the Bankruptcy Code.

       50.    Jacob Black is a Kirkland associate who clerked with the Honorable Christopher S.

Sontchi (ret.) in the United States Bankruptcy Court for the District of Delaware, from

January 2020 to December 2021. Mr. Black began working at Kirkland in September 2021, and

had no connection with the Debtors’ chapter 11 cases while working for Judge Sontchi.

       51.    Jose Lugo is a Kirkland associate who clerked with the Honorable Karen B. Owens

of the United States Bankruptcy Court for the District of Delaware from September 2020 to

September 2021. Ms. Lugo began working at Kirkland in September 2021 and had no connection

with the Debtors’ chapter 11 cases while working for Judge Owens.

F.     Other Disclosures.

       52.     Finally, certain interrelationships exist among the Debtors. Nevertheless, the

Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

conflict of interest because of the general unity of interest among the Debtors. Insofar as I have

been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

representation of the Debtors in these chapter 11 cases.

       53.     As disclosed on Schedule 2, Kirkland currently represents each of (i) Bed Bath &

Beyond Inc. and certain of its subsidiaries and affiliates (collectively, “BB&B”) and (ii) Aearo

Technologies and certain of its affiliates (collectively, “Aearo”) in each of their bankruptcy cases.

Certain Debtor entities are creditors of BB&B and/or Aearo, as applicable, and certain BB&B

entities and Aearo entities are creditors of the Debtors. Kirkland has not represented, and will not

represent, the Debtors adverse to BB&B or Aearo during the pendency of BB&B’s bankruptcy

cases or Aearo’s bankruptcy cases, as applicable. Similarly, Kirkland has not represented, and

                                                 22
             Case 23-11069-CTG       Doc 371-3      Filed 08/30/23    Page 24 of 84




will not represent, either BB&B or Aearo adverse to the Debtors during the pendency of these

chapter 11 cases. I do not believe that Kirkland’s current representation of BB&B or Aearo

precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

       54.     As disclosed on Schedule 2, Kirkland currently represents Invacare Corporation

and certain of its affiliates (collectively, “Invacare”) in its bankruptcy cases. Invacare’s First

Amended Joint Plan of Reorganization was confirmed on April 28, 2023 and went effective on

May 5, 2023. Certain Debtor entities are creditors of Invacare. Kirkland has not represented, and

will not represent, the Debtors adverse to Invacare during the pendency of Invacare’s bankruptcy

cases. Similarly, Kirkland has not represented, and will not represent, Invacare adverse to the

Debtors during the pendency of these chapter 11 cases. I do not believe that Kirkland’s current

representation of Invacare precludes Kirkland from meeting the disinterestedness standard under

the Bankruptcy Code.

       55.     The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

JPMorgan Chase & Co. JP Morgan Chase & Co. and certain of its affiliates are among the Debtors’

banks. Out of an abundance of caution, Kirkland has instituted formal screening measures to

screen Ms. Witt from all aspects of Kirkland’s representation of the Debtors.

       56.     The spouse of Kirkland associate Christopher Grady is a senior vice president and

relationship manager at The PNC Financial Services Group Inc. (“PNC”). PNC and certain of its

affiliates are among the Debtors’ banks. Out of an abundance of caution, Kirkland has instituted

formal screening measures to screen Mr. Grady from all aspects of Kirkland’s representation of

the Debtors.

       57.     Kirkland partner Jared Whalen served as a trustee of the Western Conference of

Teamsters Pension Fund in 2021, prior to joining Kirkland. Mr. Whalen was appointed by his

                                               23
             Case 23-11069-CTG       Doc 371-3      Filed 08/30/23    Page 25 of 84




former employer to serve in this role. Out of an abundance of caution, Kirkland has instituted

formal screening measures to screen Mr. Whalen from all aspects of Kirkland’s representation of

the Debtors.

       58.     Furthermore, prior to joining Kirkland, certain Kirkland attorneys represented

clients adverse to Kirkland’s current and former restructuring clients. Certain of these attorneys

(the “Screened Kirkland Attorneys”) will not perform work in connection with Kirkland’s

representation of the Debtors and will not have access to confidential information related to the

representation. Kirkland’s formal ethical screen provides sufficient safeguards and procedures to

prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and protecting

confidential information.

       59.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

personnel working on the representation of the Debtors unless there is a clear understanding that

there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

electronic document managing system.

                                               24
             Case 23-11069-CTG        Doc 371-3      Filed 08/30/23    Page 26 of 84




                          Affirmative Statement of Disinterestedness

       60.     Based on the conflicts search conducted to date and described herein, to the best of

my knowledge and insofar as I have been able to ascertain, (a) Kirkland is a “disinterested person”

within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

and (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest,

except as may be disclosed herein.



                           [Remainder of page intentionally left blank]




                                                25
           Case 23-11069-CTG         Doc 371-3        Filed 08/30/23   Page 27 of 84




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: August 30, 2023                          Respectfully submitted,

                                                 /s/ Patrick J. Nash, Jr.
                                                Patrick J. Nash, Jr.
                                                as President of Patrick J. Nash, Jr., P.C., as
                                                Partner of Kirkland & Ellis LLP; and as Partner
                                                of Kirkland & Ellis International LLP




                                               26
             Case 23-11069-CTG               Doc 371-3        Filed 08/30/23         Page 28 of 84




                                                   Schedule 1

       The following lists contain the names of reviewed entities as described more fully in the
Declaration of Patrick J. Nash, Jr. in Support of the Debtors’ Application for the Entry of an Order
Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis
International LLP as Attorneys for the Debtors and Debtors in Possession Effective as of
                                            1
August 6, 2023 (the “Nash Declaration”).         Where the names of the entities reviewed are
incomplete or ambiguous, the scope of the search was intentionally broad and inclusive, and
Kirkland & Ellis LLP and Kirkland & Ellis International LLP reviewed each entity in its records,
as more fully described in the Nash Declaration, matching the incomplete or ambiguous name.




1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Nash Declaration.
           Case 23-11069-CTG        Doc 371-3     Filed 08/30/23    Page 29 of 84




                                      SCHEDULE 1
                                      List of Schedules

Schedule    Category
1(a)        5% or More Equity Holders
1(b)        Bankruptcy Judges, Staff, and U.S. Trustee Personnel for the United States
            Bankruptcy Court for the District of Delaware
1(c)        Banks, Lenders, and Administrative Agents
1(d)        Committee Members
1(e)        Committee Professionals
1(f)        Current Directors and Officers
1(g)        Customers
1(h)        Debtor Professionals
1(i)        Debtors
1(j)        Environmental Related Parties
1(k)        Insurance Providers and Agents
1(l)        Litigation and Subrogation Claims
1(m)        Material Contract Counterparties
1(n)        Non-Debtors
1(o)        Other Restructuring Professionals
1(p)        Significant Vendors
1(q)        Surety and Letters of Credit Issuers
1(r)        Taxing Authorities, Governmental Agencies, and Regulatory Agencies
1(s)        Top 30 Creditors
1(t)        UCC Lien Parties
1(u)        Union Funds
1(v)        Unions
           Case 23-11069-CTG        Doc 371-3    Filed 08/30/23   Page 30 of 84




                                    SCHEDULE 1(a)
                                5% or More Equity Holders

International Brotherhood of Teamsters
MFN Partners Management LP
United States, Government of the, Department of the Treasury
           Case 23-11069-CTG      Doc 371-3    Filed 08/30/23     Page 31 of 84




                                  SCHEDULE 1(b)
  Bankruptcy Judges, Staff, and U.S. Trustee Personnel for the United States Bankruptcy
                            Court for the District of Delaware

Attix, Lauren                                  Subda, Paula
Barksdale, Nickita                             Walker, Jill
Batts, Cacia                                   Walrath, Mary F.
Bello, Rachel                                  Wynn, Dion
Brady, Claire                                  Yeager, Demitra
Capp, Laurie
Casey, Linda
Cavello, Robert
Chan, Ashely M.
Cudia, Joseph
Dice, Holly
Dorsey, John T.
Dortch, Shakima L.
Farrell, Catherine
Fox, Timothy J., Jr.
Gadson, Danielle
Giordano, Diane
Goldblatt, Craig T.
Green, Christine
Hackman, Benjamin
Haney, Laura
Horan, Thomas M.
Hrycak, Amanda
Johnson, Lora
Jones, Nyanquoi
Leamy, Jane
Lopez, Marquietta
Lugano, Al
McCollum, Hannah M.
Mcmahon, Joseph
O'Malley, James R.
Owens, Karen B.
Ranieri, Joan
Richenderfer, Linda
Sarkessian, Juliet
Schepacarter, Richard
Serrano, Edith A.
Shannon, Brendan L.
Sierra-Fox, Rosa
Silverstein, Laurie Selber
Stickles, J. Kate
           Case 23-11069-CTG        Doc 371-3    Filed 08/30/23   Page 32 of 84




                                    SCHEDULE 1(c)
                        Banks, Lenders, and Administrative Agents

ACE Global Multi-Credit LLC
Alter Domus Products Corp.
Amissima Diversified Income ICAV
AP Kent Credit Master Fund LP
Apollo Accord Master Fund III LLP
Apollo A-N Credit Fund (Delaware) LP
Apollo Atlas Master Fund LLC
Apollo Centre Street Partnership LP
Apollo Credit Funds ICAV
Apollo Credit Master Fund Ltd.
Apollo Credit Strategies Master Fund Ltd.
Apollo Lincoln Fixed Income Fund LP
Apollo Moultrie Credit Fund LP
Apollo Tactical Value SPN Investments LP
Apollo TR Enhances Levered Yield LLC
Apollo TR Opportunistic Ltd.
Aspen American Insurance Co.
Athora Lux Invest
Bancomer
Bank of America NA
Bank of Bermuda
Bank of Nova Scotia, The
BNY Mellon
Cadbury Mondelez Pension Trust Ltd.
CIT Finance LLC
Citadel Securities LP
Citizens Bank NA
Citizens Business Capital
Cortland Products Corp.
ING Capital LLC
JPMorgan Chase Bank NA
KeyBank NA
MPI (London) Ltd.
PNC Bank
PNC Bank NA
San Bernardino County Employees' Retirement Association
Siemens Financial Services Inc.
TD Bank
UMB Bank
United States, Government of the, Department of the Treasury
US Bank NA
Wells Fargo
          Case 23-11069-CTG        Doc 371-3    Filed 08/30/23   Page 33 of 84




                                   SCHEDULE 1(d)
                                   Committee Members

BNSF Railway Co.
Central States, Southeast & Southwest Areas Pension Fund
Daimler Trucks NA
International Brotherhood of Teamsters
Michelin North America Inc.
New York State Teamsters Pension & Health Funds
Pension Benefit Guaranty Corp.
Raisner Roupinian LLP
Rft Logistics LLC
Rivera, Armando
          Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 34 of 84




                                  SCHEDULE 1(e)
                                Committee Professionals

Akin Gump Strauss Hauer & Feld LLP
Benesch, Friedlander, Coplan & Aronoff LLP
Huron Consulting Group Inc.
Miller Buckfire & Co. LLC
          Case 23-11069-CTG   Doc 371-3   Filed 08/30/23   Page 35 of 84




                              SCHEDULE 1(f)
                         Current Directors and Officers

Bergman, Jason W.
Carreno, Tony
Carty, Douglas A.
Dawson, Leah K.
Doheny, Matthew A.
Evans, Javier
Harris, Darrel J.
Hawkins, Darren D.
Hoffman, James E.
Jones, Shaunna D.
Martinez, Susana
McClimon, David S.
Nazemetz, Patricia M.
Olivier, Daniel L.
Rumfola, Annlea
Sultemeier, Chris T.
Webber, David H.
           Case 23-11069-CTG         Doc 371-3     Filed 08/30/23   Page 36 of 84




                                     SCHEDULE 1(g)
                                             Customers

4Front Ventures Corp.                               Mars Petcare USA Inc.
Amazon.com Inc.                                     Medline Industries Inc.
ARC Supply Chain Solutions                          NFI Industries Inc.
ArcBest Enterprise Solutions Inc.                   Nissan North America Inc.
Ascent Global Logistics Inc.                        Office Depot
Association Solutions                               Ohio Logistics Ltd.
Barrette Outdoor Living Inc.                        OMNI Logistics
BlueGrace Logistics                                 PB Consultants Ltd.
Blue-Grace Logistics LLC                            Phillips Van-Heusen
CH Robinson Co. Inc.                                Ply Gem Industries Inc.
Daimler Trucks North America LLC                    Priority One Holding Co.
Dollar General Corp.                                ReTrans Freight Inc.
Dollar Tree Stores Inc.                             Rite Aid Corp.
DuPont                                              Rivian Automotive LLC
DuPont Specialty Products USA LLC                   Rogers & Brown North American Logistics
Eaton Corp. plc                                         Inc.
Echo Global Logistics Inc.                          Ryder Carrier Management Services
ETech Group                                         Samsung Electronics America Inc.
Exel Ltd.                                           Savings4Members
Expeditors Cargo Insurance Brokers                  Schneider Logistics Inc.
Falvey Shippers Insurance                           Signify Lighting
Fern Exposition Services                            Signify North America Corp.
First Brands Group LLC                              Simplified Logistics LLC
Ford                                                Spectrum Brands
Ford Motor Co.                                      Stanley Black & Decker (US) Inc.
Freeman Parent Cos.                                 Staples Inc.
Freightquote.com Inc.                               SupplyHouse.com
Gallagher Affinity Insurance Services Inc.          Tforce Worldwide Inc.
General Electric Co.                                TFWW
GlobalTranz Enterprises LLC                         TPS Logistics Inc.
HealthCore Inc.                                     Transportation Insight LLC
Hillenbrand Inc.                                    Turn 5
HNRY Logistics Inc.                                 Turn5 Inc.
Home Depot Inc., The                                Uber Freight US LLC
Honda Motor Europe Logistics                        Uline Inc.
Hub Group Inc.                                      Unishippers Global Logistics LLC
Hubbell Inc.                                        United States, Government of the
Hyundai America Shipping Agency Inc.                Unyson Logistics Inc.
Johnson Controls Inc.                               UPS Capital Insurance Agency Inc.
LO Trading Corp.                                    Vollrath Co., The
Logikor Inc.                                        Volvo Logistics North America Inc.
Logistics Plus Inc.                                 VWR International LLC
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 37 of 84




Walmart Stores Inc.
WebstaurantStore Inc., The
Worldwide Express Operations LLC
          Case 23-11069-CTG         Doc 371-3   Filed 08/30/23   Page 38 of 84




                                    SCHEDULE 1(h)
                                    Debtor Professionals

Alvarez & Marsal
Ducera Partners LLC
Epiq Global
Goodmans LLP
Pachulski Stang Ziehl & Jones LLP
           Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 39 of 84




                                    SCHEDULE 1(i)
                                        Debtors

1105481 Ontario Inc.
Express Lane Service Inc.
New Penn Motor Express LLC
Reimer Holding BV
Roadway Express International Inc.
Roadway Next Day Corp.
USF Bestway Inc.
USF Dugan Inc.
USF Holland International Sales Corp.
USF Holland LLC
USF Reddaway Inc.
USF Redstar LLC
Yellow Freight Corp.
Yellow Logistics Inc.
YRC Association Solutions Inc.
YRC Enterprise Services Inc.
YRC Freight Canada Co.
YRC Inc.
YRC International Investments Inc.
YRC Logistics Inc.
YRC Logistics Services Inc.
YRC Mortgages LLC
YRC Regional Transportation Inc.
           Case 23-11069-CTG         Doc 371-3   Filed 08/30/23   Page 40 of 84




                                     SCHEDULE 1(j)
                                Environmental Related Parties

Environmental Protection Agency
Roosevelt Irrigation District (AZ)
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 41 of 84




                                   SCHEDULE 1(k)
                             Insurance Providers and Agents

ACE American Insurance Co.                     Helix Underwriting Partners Ltd.
ACE Property & Casualty Insurance Co.          Illinois Union Insurance Co.
AEGIS London                                   Lex-London
AFCO Credit Corp.                              Lloyd's of London
AIG Specialty Insurance Co.                    Lockton
Allianz Global Corporate & Specialty SE        Magna Carta - Aegis
Allianz Global Risk US Insurance Co.           Magna Carta Insurance Ltd.
Allianz US Risks US Insurance Co.              Markel
Allied World Assurance Co. Ltd.                Markel Bermuda
American International Group UK Ltd.           Mosaic Insurance
American International Reinsurance Co.         National Fire & Marine Insurance Co.
    Ltd.                                       National Union Fire Insurance Co. of
Applied Underwriters                                Pittsburgh, PA
Arcadian                                       North Rock Insurance Co.
Arch Reinsurance Ltd.                          Old Republic General Insurance Corp.
Aria (SAC) Ltd.                                Old Republic Insurance Co.
Aspen American Insurance Co.                   Old Republic Insurance Co. of Canada
AXA XL                                         Resilience Cyber Insurance
AXIS Bermuda Puni-Wrap                         Roanoke
AXIS Insurance Co.                             Roanoke Trade
AXIS Specialty Ltd.                            RSUI Indemnity
AXIS Surplus Insurance Co.                     RT Specialty
Beazley Insurance Co.                          SiriusPoint Bermuda Insurance Co. Ltd.
Berkshire Hathaway International Insurance     Sompo
    Ltd.                                       St. Paul Fire & Marine Insurance Co.
Berkshire International                        Tokio Marine HCC
BFL                                            Travelers
Canopius                                       Travelers of Canada
Chubb Bermuda Insurance                        U.S. Specialty Insurance Co.
Chubb Ltd.                                     Vantage Risk Ltd.
CNA                                            Westchester Surplus Insurance Co.
Columbia Casualty                              Willis Towers Watson
Continental Casualty                           XL Insurance Co. SE - Irish Branch
Crum & Forster
EmergIn Risk
Endurance American Insurance Co.
Endurance Specialty Insurance Ltd.
Everest Insurance
Federal Insurance Co.
GAI Insurance Co. Ltd.
Great American Assurance Co.
Greenwich Insurance Co.
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 42 of 84




                                   SCHEDULE 1(l)
                            Litigation and Subrogation Claims

68th Street Dump Superfund Alternative         Dewell, Megan B.
   Site                                        Dominguez, Jennifer
Abili, Edward                                  DPS Auto Shippers
Agyilirah, Kwame                               Drew, Derrick E.
Alabama Automotive & Diesel Repair             Drive New Jersey Insurance Co.
Alco Iron & Metal Co.                          Eclipse IP LLC
Alexander, James C.                            Environmental Protection Agency
Almonte, Criseily A.                           Eskridge, Decarlo A.
APDI Liquidation LLC                           Federal Motor Carrier Safety Administration
Arce, Mario                                    Fernandez, Christian
Arias, Nicole                                  Fisher, Sherquenna
Auguste, Micheline                             Freeman, Sabrina
Baez, Dania                                    Fuselier, William
Bagwell, Kevin                                 G&J Carlson Truck & Trailer Repairs
Baker, Ringo                                   Galloway, Kevin M.
Bazarov, Jacob                                 Garcia, Erica
Bed Bath & Beyond                              Gassaway, John
Bhandari, Ameesh                               Gibby, Gary
Binette, Myriam                                Gilmore, Jimmie L.
Blackstrap Industries Inc.                     Giunto, Vincenzo
BM Group Inc.                                  Glover, D'Angelo
Boblitt, Robert E.                             Goodman, Sopia L.
Bojang, Muhamed                                GPNE Corp.
Bright Earth Foods                             Grissom, Bobby
Broussard, Devonte Thomas                      Haefner Farm
Brown, Melissa D.                              Hall, Derek
Bryant Holdings LLC                            Hallamore Corp.
Bufford, Russell                               Hamilton, Bonita
Buford, Virginia                               Hanford, Paige
Burrell, Brandy C.                             HBC Strategies
Byrd, Destinee R.                              Hernandez, Emely
Cancino, Edgar                                 Hernandez, Henry P.
Carrillo, Robert                               Hettick, Rachael L.
Charlot, Charlene                              Hill, Antonio
Cherry Man Industries                          Hill, Tina
Clarin, Shannon L.                             Hitz, Alexander
Clark, Paul                                    HKM Direct Market Communication
ComLink Network Services                       HNRYLogistics.com
Cooper, Steven                                 HNRYLogistics.net
Curry, James                                   Home Products International Inc.
Daugherty, Norman E.                           Hong, Han G.
Deleon, Yeferson                               Hong, Isaac
          Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 43 of 84




Hong, Marybeth                                Napiwocki, Jill
House, Joshua W.                              Neathery, Anthony S.
Howard, James                                 Newton, Jesse
Hubert, Jimmie                                Nipponkoa Insurance
Hucks, Novella N.                             Nova Wildcat Shur-Line Holdings (H2
Hudson, Christine                                 Group)
Ibarra-Bastidas, Gabriela                     Nowicki, Lawrence
Indemnity Insurance Co. of North America      Ocean Amusements Inc.
Interboro Packaging Corp.                     Omachron Science Inc.
Jackson, Geraldine                            Oncor Electric Delivery Co.
Jackson, Leroy F.                             Openshaw, Anne-Celeste
Johnson, Glenn                                Party City
Johnson, Lillie P.                            Patel, Ankit K.
Jones, Delores                                Patterson, Nancy
Kelsie, Adam                                  Peguero, Yency
Kenco Logistic Services LLC                   Pemba, Vignola
Khaira, Jarnail S.                            Perez-Ortiz, Yuritsi
Kiel, Mindy Ann                               Perez-Valencia, Lexington
Kirn, Colenan B.                              Plott, JC
Kitzmiller, Christie                          PML Capital Inc.
Kluxen, Michael                               Ponce, Leonel
Kouloujian, Hagop                             Powell, Anthony
Lapolla, Blaise E.                            Proto, Erik
Leung, Marina                                 Purchase Master LLC, The
Lewis, Christina                              Pyramid Flooring / Seneca Hardwood
Littral, William A.                           Quality Ocean
Logistica Zemog                               R&L Carriers
Logitraq LLC                                  Reimer World Corp.
Loomis, Marshall                              Revlon Inc.
Lopez-Builes, Martha                          Richard, Joshua
Louis, Kirby                                  Riggins, Kimdell
Louro, Emily J.                               Riley, Cherry B.
Luce, John                                    Rivera-Romero, Leslie J.
Madden, Jaylin J.                             RoadNet Technologies
Malnik, Alvin L.                              RoadwayDelivery.com
Martin, Janae                                 Robinson, Summer Cheyenne
Martino, Anthony                              Robles, Samuel
Mata, Martin Nava                             Rocket Farms Inc.
Maxfield Candy Co.                            Rodriguez, Kenneth
Mcbean, Camila                                Rodriguez, Raudin
Mercado, Milagros V.                          Rogers, Liliah
Miller, Thomas                                Roman, Nadine
Misquez, Aaron S.                             Ropshaw, Cade J.
Mongelli, Paul L.                             Sanchez Garcia, Horacio
Moonilal-Singh, Kavir                         Sanders, John
Mughadam, David                               Santos, Martita S.
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 44 of 84




Sawyer, Sheri L.                               Washington, State of, Employment Security
Sayegh, Ailyn                                     Department
Schimmoller, James D.                          Wasmiller, Lorinda
Selby, Robert                                  Waters-Ocasio, Laureen
Session, Qusarn F.                             Watkins, Eric
Simon, Alpar                                   Williams, Bernard
Sira-Monsalve, Yelimar                         Williams, John
Sirius Computer Solutions                      Winston, James D.
Slater, Willie Lee                             Winston, Joyce A.
Smith, Caesar                                  Winston, Sharee D.
Sneed, Hodges                                  Wyszynski, Paul
Sofolonia, Vea                                 Yanto, Charmane
Sosa, Juan                                     Yello Strom
Spence, Tena J.                                Yellow Crates Corp.
Sritharan, Sri                                 Yellow Transportation Inc.
Standard Roofing & Sheet Metal Supply          YRCCourier.com
Stewart Rentals                                YRCWorldwideDelivery.com
Tartabull, Carlos E.                           Zenobia Co. LLC
Temp-Coat Brand Products
Thorn, Jeff
Tinsley, Jesstina
TM Longevity Center, CA
Transmate Logistics
Trice, Whittni L.
TS Express
Tucows Inc.
Turakulov, Damir T.
United States, Government of the,
    Department of Defense
United States, Government of the,
    Department of Labor Occupational
    Safety & Health Administration
United States, Government of the,
    Department of Labor, Occupational
    Safety and Health Administration
United States, Government of the,
    Department of the Treasury
United States, Government of the,
    Environmental Protection Agency, 68th
    Street Site Work Group
US Freightways Inc.
Veasey, Zackary
Viera, Octavio F.
Vital Pharmaceuticals Inc.
Vizant Technologies LLC
          Case 23-11069-CTG          Doc 371-3   Filed 08/30/23   Page 45 of 84




                                     SCHEDULE 1(m)
                            Material Contract Counterparties

1313 Grand Street Realty LLC                     Dock Street Corp.
1333 North Market LLC                            Don Jerry X-Plo Inc.
181 West Johnson Operating LLC                   Dunco LLC
445 Hollywood Avenue LLC                         Dwell Wise LP
9551930 Canada Inc.                              DWJS LLC
A. Duie Pyle Inc.                                East West Bank
ABF Freight System Inc.                          Edinburgh Logistics Assets LLC
Acheron Land Holdings ULC                        Eiler LLC
Ajia LLC                                         Elmira Terminal & Warehouse Corp.
Alamitos Auto Parts Inc.                         Estes Express Lines Inc.
Allied Logistics Corp.                           Estes Terminals LLC
AppleTree Realty Holdings LLC                    Exeter 1619 N Plaza LLC
Artim Industrial Properties                      Exol Properties LLC
Aurora Business Park Associates LP               Faloma Fazio Property LLC, The
Axos Bank                                        Fazio TV LLC
B&W Investments                                  Federal Bridge Corp. Ltd., The
B. Kik Properties LLC                            Fifty Second Avenue Associates Inc.
Baker Dennard & Goetz Inc.                       Finlayson Logistics Assets LLC
Barry Jenkins Trust                              Freeport Center Associates
Bel Air T.T. LLC                                 Freight Line Properties LLC
Big Sky Property Management                      G&I IX Cheshire LLC
Blach Distributing Co.                           GB Albany LLC
Blach Investment Group                           GB Union Gap LLC
Bluebird Real Estate Holdings LLC                GEFFS Manufacturing Inc.
BNSF Railway Co.                                 GIJV IL7 LLC
Boyer Logistics Inc.                             Glen EG LLC
BREIT Industrial Canyon                          Goodland, City of (KS)
C&S Brokerage                                    GPT Deer Park Terminal Owner LLC
Carlson, Lorraine                                GPT Orlando Terminal Owner LLC
Central Property Group LLC                       GPT Santa Fe Springs Owner LP
Chamberlain Trust                                Green Acres Gypsum & Lime Co. Inc.
Chamberlain, Jack                                Green Blue 1818 LLC
Champion Terminal Associates LLC                 Growth Funding Equipment Finance
Chicago Title Land Trust Co.                     GRP 298 Astor LLC
Christy Real Estate LLC                          Gulsons Cutter LLC
Commerce Road Terminals LLC                      Haener Properties LP
Crown Associates LLC                             Harris Real Estate Holdings LLC
Crown Enterprises Inc.                           Hartman Road LLC
CWW Enterprises LLC                              Hawkey Transportation Inc.
DCT Eckhoff Street LLC                           Haycock, Victoria C.
DCT Peoria Street LLC                            HealthSource Integrated Solutions
DCT Regentview Avenue LLC                        Heatherly, Jim
          Case 23-11069-CTG      Doc 371-3   Filed 08/30/23   Page 46 of 84




Highland Investments LLP                     North Acres Development Co. Inc.
Hofstad, Jerald K.                           NW 5+B Office & Retail LLC
HVIP Industrial Park                         Oliver, Cynthia
Invermex LLC                                 Ontiveros, Maria
Isaacson, Paul                               OPS-KC Aspiria LLC
Ivey Self Storage Inc.                       Orange Batavia I LLC
J&C Gilman LLC                               Orchard Investments Inc.
Jay F. Mannino Trust                         P&R Property Management
JB Wright Insurance Services                 PAC Operating LP
Jeds LLC                                     PACCAR Financial Corp.
Jennings Leasing LLC                         Pacific Transshipment Centers LLC
JL Clark Inc.                                PacifiCorp
Jonesboro Freight Terminal LLC               Peapack Capital Corp.
JVCA Investments LLC                         Penske Truck Leasing Co. LP
Kestrel Crossdock LLC                        Peters Investments LLC
Lenzen, Pearl                                Pifer Property Holdings LP
LightEdge Technologies Ltd.                  Popular Investments LLC
M4 Terminals LLC                             Port of Seattle
Mad Acquisitions LLC                         PPF Sudberry Ocean View Hills LP
Madrona Cutter LLC                           Price Property & Investments LLC
Marley RMC II SPE LLC                        Prologis LP
Mary A. Fazio LP I                           Prologis Targeted US Logistics Fund LP
Matelich Crane Pier & Piling                 Prologis USLV NEWCA 3 CA
McCallum Family LLC                          Prologis USLV NEWCA 3 LLC
McPherson Cos., The                          Prologis USLV SUBREIT 4 LLC
Mercedes-Benz Financial Services USA         Property 1955 LLC
    LLC                                      PWM Inc.
MG Fishersville I LLC                        Pyro Junkie Fireworks Inc.
MJ Rock LLC                                  Radius Bank
Mobile Airport Authority                     Realterm Nat Property Holdings LP
Mohawk Street Properties LLC                 Regency West Office Partners LLC
Montana Opportunities LLC                    Reimer World Properties Corp.
Morse, Ann B.                                RGA Dalfen East Dallas LP
Morse, David M.                              Rich & Dave Grant Properties
Multi-Base Inc.                              Richardsons Properties LLC
NAPA Auto Parts                              RL Roberts LLC
Nations Equipment Finance                    RLF Booth SPE LLC
NATMI LPF Bloomington LP                     RLF I-A SPE LLC
NATMI National FX Properties LLC             RLF I-C SPE LLC
NATMI National Tampa LLC                     RLF I-Pico SPE LLC
NATMI National Truck Terminals LLC           RLIF East 2 LLC
Ned Properties LLC                           RLR Investments LLC
Nelson, Mitchell                             Roemer Way LLC
Nextran Truck Center                         RWP Manitoba Ltd.
Niagara Falls Bridge                         Ryder Truck Rental Inc.
Norstar Walker Inc.                          S&S Transport
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 47 of 84




Salem Warehouse Syndicate LLC
Santa Maria Investments LLC
Schopp Properties LLC
Shaffer Road LLC
Sherman, County of (TX), County Clerk
Shurling Property
Silver Creek LLC
Snohomish County Airport
Soeth Corp.
Southeastern Freight Lines Inc.
Southern Warehousing & Distribution
Spalding & Son Inc.
Staker & Parson Cos. Inc.
Sterling National Bank
Stoughton Trailers Acceptance Co. LLC
Tatanka LLC
Terminal Logistics II Mid-Atlantic Spe LLC
Terminal Logistics II South SPE LLC
Terminal Logistics II Texas SPE LP
Terreno Clawiter LLC
Terreno Dell LLC
TFI International Inc.
Thunderbolt Management Group Inc.
TierPoint LLC
Timberline Distributors LLC/The Black
    Sheep LLC
Toon Investments LLC
Toyota
Trafton Warehouse LLC
Trip Portfolio LLC
Umpqua Dairy
Unite Private Networks
USHOLL (MI) LLC
Velocity Partners LLC
Vieweg Real Estate
Villa Vista West LLC
Volvo Financial Services
Warner-Williams Investments Inc.
Watwood Investments LLC
West Emerson Brokers Mall Ltd.
Wheels Up Experience Inc.
Wiggins, Lee A.
WIPT Inc.
Wolverine Freight System
Zollinger Commercial Warehousing
           Case 23-11069-CTG       Doc 371-3    Filed 08/30/23   Page 48 of 84




                                    SCHEDULE 1(n)
                                         Non-Debtors

OPK Insurance Co. Ltd.
PT Meridian IQ Indonesia International
Roadway Express Inc.
Roadway Express SA de CV
Roadway LLC
Transcontinental Lease S. de RL de CV
USF Holland Inc.
Yellow Corp.
Yellow Transportation Inc.
YRC Freight
YRC Logistics Asia Ltd.
YRC Services S. de RL de CV
YRC Transportation SA de CV
          Case 23-11069-CTG      Doc 371-3   Filed 08/30/23   Page 49 of 84




                                 SCHEDULE 1(o)
                          Other Restructuring Professionals

AlixPartners LLP
Arnold & Porter Kaye Scholer LLP
Choate, Hall & Stewart LLP
FTI
Hogan Lovells US LLP
Holland & Knight LLP
Houlihan Lokey Inc.
Milbank
Province Inc.
Quinn Emanuel Urquhart & Sullivan LLP
Ropes & Gray LLP
White & Case LLP
          Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 50 of 84




                                  SCHEDULE 1(p)
                                  Significant Vendors

4Refuel Canada LP                             Diesel Direct West
7 Oil Co. Inc.                                Direct ChassisLink Inc.
A. Duie Pyle Inc.                             Diversified Energy Supply
AAA Semi Truck & Trailer Repairs LLC          Dun & Bradstreet Inc.
Altus Receivables Management Inc.             Ean Services LLC
AmeriGas Propane                              East Bay Drayage Drivers Security Fund
Aramark Inc.                                  Ernst & Young LLP
AT&T Inc.                                     Exl Service Holdings Inc.
Aurora Parts & Accessories LLC                Exl Service Ireland Ltd.
Avery Weigh-Tronix LLC                        ExperSolve
B2B Supply                                    Factor Systems Inc.
Baucom Service Inc.                           Fidelity Workplace Services LLC
Bayard Advertising Agency                     Fire Engineering Co. Inc.
Belk Express                                  First Advantage Background Services Corp.
Bestpass Inc.                                 Fleet Charge
Blue Cross & Blue Shield Illinois             FleetPride Corp.
Bobs Mobile Truck & Trailer Shop Ltd.         Fletes Mexico Carga Express
Bridgestone Americas Inc.                     GardaWorld Security Services
Brown & Joseph LLC                            Gardewine & Sons Ltd.
BS Transport LLC                              GBS Corp.
Canada, Government of, Receiver General       Geos Environmental Inc.
Canadian National Railway Co.                 Goetz Energy Corp.
Cass Information Systems Inc.                 Goodyear Tire & Rubber Co., The
CBK Construction Co.                          GPT Operating Partnership LP
CenturyLink                                   Grainger
Chevron Products Co.                          Green Blue 1818 LLC
Cintas Corp.                                  Guidepoint Security LLC
City Wide Franchise Co. Inc.                  Hagerstown Teamsters & Motor Carriers
Comdata Inc.                                  Hartford Life & Accident Ins Co.
Conrad & Bischoff Inc.                        Haulistic LLC
ConvergeOne Inc.                              Haz-Mat Response Inc.
Cook, County of (IL), Treasurer               Heritage Petroleum LLC
Corporate Lodging Consultants Inc.            Hightowers Petroleum Co.
Coyote Logistics                              HNRY Logistics Inc.
CrossCountry Courier Inc.                     Honeywell Scanning & Mobility
CSTK                                          Hyundai Translead
CVS Caremark                                  IBM Corp.
Daimler Truck Financial Services              IBT Local 710
Dekra Services Inc.                           IBT Local 710 Health & Welfare
Dell Marketing LP                             IBT Local 710 Pension Fund
Delta Dental of Kansas Inc.                   Imperial Supplies LLC
Diesel Direct Inc.                            Indiana, State of, Department of Revenue
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 51 of 84




Infostretch Corp.                              Ogletree, Deakins, Nash, Smoak & Stewart
Insight Direct USA Inc.                            PC
Intercept Logistics Inc.                       Ohio, State of, Department of Taxation
Interstate Building Maintenance Corp.          Okta Inc.
ITF LLC                                        Old Republic Risk Management Inc.
ITS National LLC                               Old World Industries LLC
J.J. Advantage Security                        Optym
Jacobus Energy LLC                             Oracle America Inc.
James River Petroleum Inc.                     Oregon Teamster Employers Trust
JLT Mobile Computers Inc.                      Oregon, State of, Department of
Kasowitz Benson Torres LLP                         Transportation, Motor Carrier
Keyhole Software LLC                               Transportation Division
KPMG LLP                                       Orlando Pro Truck Repairs LLC
Lao-Hmong Security Agency Inc.                 OSCO Inc.
Leuf of Florida Inc.                           Overland West Freight Lines
Local 251 Health & Welfare Fund                Paccar Parts Fleet Services
Local 701 Mid-Jersey Trucking                  Packaging Corporation of America
Local 707                                      Pasha Hawaii Holdings LLC
Lytx Inc.                                      PCS Surface Delivery
Magnum LTL Inc.                                PetroCard Inc.
Mansfield Oil Co.                              Pilot Travel Centers LLC
Marsh USA Inc.                                 Pinnacle Fleet Solutions
Michelin North America Inc.                    Pontoon Solutions Inc.
Microsoft Corp.                                Prestige Fleet Services LLC
Mid-American Constructors LLC                  Progistics Distribution Inc.
Milestone Trailer Leasing LLC                  Prologis USLV NEWCA 3 LP
Mirabito Energy Products                       Proskauer Rose LLP
Miracle Express Inc.                           Publicis Sapient
Miri Piri Transportation Inc.                  R&D Mobile Services Inc.
M-O FreightWORKS                               R.L. Roberts LLC
Mode Transportation LLC                        Ray's Tire Service LLC
Morgan, Lewis & Bockius LLP                    Reed Transport LLC
Motus LLC                                      Rft Logistics LLC
MTM Recognition Corp.                          Ricoh USA Inc.
National Landscape Management                  Riley Oil Co.
New England Teamsters Pension Fund             Ringcentral Inc.
New York State Teamsters                       Road Carriers Local 707 Welfare Fund
New York State Teamsters Council               Road-1 Inc.
Nextran Truck Centers Midwest Inc.             Roofoptions LLC
Norfolk Southern Corp.                         Rush Truck Center
North American Transaction Services            Safety-Kleen Systems Inc.
North Park Transportation Co. Inc.             Salesforce.com Inc.
NTT Data Services LLC                          San Bernardino, County of (CA), Tax
NW Fleet Trucktrailer Repair Inc.                  Collector
Offen Petroleum LLC                            SC Fuels
                                               Schneider National Inc.
          Case 23-11069-CTG      Doc 371-3   Filed 08/30/23   Page 52 of 84




Securitas Security Services USA Inc.         Western Pennsylvania Teamsters &
Security Solutions of America                    Employers Welfare Fund
Sedgwick Claims Management Services Inc.     Wiese USA
Signature Graphics Inc.                      Wilmington Trust Co.
Span Alaska Transportation Inc.              World Fuel Services Inc.
Speedy Transport Group Inc.                  Zello Inc.
Staples Business Advantage
STL Truckers LLC
Straight Freight System LLC
Suburban Teamsters Welfare Fund
Superior Material Handling Inc.
Tacoma Motorfreight Service
Taylor Communications
TBS Factoring Service LLC
Teamsters Health & Welfare Fund
Teamsters Local 25 Health & Welfare Plan
Teamsters Local 641
Teamsters Local 641 Health & Welfare
    Fund
Teamsters National 401K Savings Plan
Teamsters Pension Fund
Teamsters Union Local 25
Technology Group Solutions LLC
Ten Logistics Inc.
TIG Fleet Service
Total Quality Logistics LLC
Tote Maritime Puerto Rico LLC
Trans-National Express
Trucking Employees of North Jersey
Trucking Management Inc..
Truckpro
U.S. Xpress Enterprises Inc.
Uline Shipping Supply Specialists
Union National Bank
Union Pacific Railroad
United Parcel Servce Inc.
United States Postal Service
US Special Delivery
Vanguard National Trailer Corp.
Verizon Connect Telo Inc.
Verizon Wireless
Washington Teamsters Welfare Trust
Waste Harmonics LLC
Waste Management National Services Inc.
Webster Bank
West Power Services
           Case 23-11069-CTG      Doc 371-3    Filed 08/30/23     Page 53 of 84




                                  SCHEDULE 1(q)
                           Surety and Letters of Credit Issuers

Arch Capital Group
Argo Group
Chubb Group
CNA Surety
Intact Group
Liberty Mutual Group
Protective Insurance Co.
          Case 23-11069-CTG      Doc 371-3    Filed 08/30/23   Page 54 of 84




                                 SCHEDULE 1(r)
          Taxing Authorities, Governmental Agencies, and Regulatory Agencies

Canada Revenue Agency
Danville, City of (IL)
Joilet, City of (IL)
Los Angeles, County of (CA)
Massachusetts, Commonwealth of, Department of Revenue
New York, State of, Department of Taxation & Finance
Pennsylvania, Commonwealth of, Department of Revenue
San Joaquin, County of (CA), Assessor’s Office
St. Joseph, County of (IN)
Texas, State of, Comptroller
Washington, State of, Department of Revenue
          Case 23-11069-CTG       Doc 371-3      Filed 08/30/23   Page 55 of 84




                                  SCHEDULE 1(s)
                                       Top 30 Creditors

Amazon.com Inc.
Bed Bath & Beyond
Belk Express
BNSF Railway Co.
Central Pennsylvania Teamsters
Central States H&W Fund
Central States Pension Funds
Coty Inc.
Daimler Trucks NA
Direct ChassisLink Inc.
Exl Service Holdings Inc.
Goodyear Tire & Rubber Co., The
Home Depot Inc., The
IAM National 401K Plan
IBT Local 710
Keurig Dr. Pepper Inc.
Local 707
Local 805 Pension & Retirement Plan
Michelin North America Inc.
Michigan Conference of Teamsters
Mid-American Constructors LLC
New York State Teamsters Council
North American Transaction Services
Pension Benefit Guaranty Corp.
Penske Truck Leasing
Pilot Travel Centers LLC
Rft Logistics LLC
Teamsters National 401K Savings Plan
Union Pacific Railroad
Western Teamsters Welfare Fund
           Case 23-11069-CTG        Doc 371-3     Filed 08/30/23    Page 56 of 84




                                    SCHEDULE 1(t)
                                     UCC Lien Parties

Altabank
Alter Domus Products Corp.
Bank of New York Mellon
BofI Federal Bank
Citizens Asset Finance Inc.
Citizens Bank NA
Citizens Business Capital
Cortland Products Corp.
Credit Suisse AG
EverBank Commercial Finance Inc.
First Utah Bank
Growth Funding Equipment Finance
Harbor Capital Leasing Inc.
Harbor Capital Leasing LLC
HYG Financial Services Inc.
Investors Bank
JPMorgan Chase Bank NA
Les Schwab Warehouse Center Inc.
Milestone Equipment Corp.
Nations Fund I Inc.
Nations Fund I LLC
NewStar Commercial Lease Funding I LLC
NewStar Equipment Finance I LLC
NMHG Financial Services Inc.
People's Capital & Leasing Corp.
People's United Bank NA
PMC Financial Services Group LLC
Radius Bank
RBS Citizens Business Capital
Somerset Capital Group Ltd.
Somerset Capital Group XXII
Stoughton Trailers Acceptance Co. LLC
Susquehanna Commercial Finance Inc.
Toyota Industries Commercial Finance Inc.
United States, Government of the, Department of the Treasury, Internal Revenue Service
Utica LeaseCo LLC
Wintrust Equipment Finance
YRC Inc.
           Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 57 of 84




                                    SCHEDULE 1(u)
                                        Union Funds

Albany Trucking & Allied Industries - Local     Hagerstown Teamsters Health & Pension
    294                                             Fund (Local 992)
Allied Services Division - BRAC 1908 MIA        Hawaii Teamsters Health & Welfare Trust
Allied Services Division Welfare Fund           Hawaii Truckers - Teamsters Union Pension
Automobile Mechanics' Local 701 Union &             Fund
    Industry Pension Fund (Chicago              IAM Local 447 Health & Welfare Fund -
    Mechanics)                                      Buffalo
Automobile Mechanics' Local 701 Union &         IAM Local 447 Pension Fund - Buffalo
    Industry Welfare Fund (Chicago              IAM National Pension Fund
    Mechanics)                                  IAM National Pension Fund - Local 778
Central Pennsylvania Teamsters Health &         IAM National Pension Fund (St. Paul)
    Welfare Fund                                IBT Office of the Trustee Local 710
Central Pennsylvania Teamsters Pension              (Chicago Mechanics) - Health+Welfare
    Fund                                            & Pension Fund
Central States Health & Welfare Fund            IBT Teamsters Health & Welfare Fund
Central States Pension Fund                         Local 705
Central States Pension Fund - Local 778         Indiana Conference of Teamsters Safety
Central Status Health & Welfare Fund                Training & Educational Trust Fund
Central Status Health & Welfare Fund -          Local 294 Albany Area Trucking
    Local 778                                   Local 445 Pension Fund
Central Status Pension Fund                     Local 705 International Brotherhood of
Central Status Pension Fund - Local 778             Teamsters Health & Welfare Fund
Chauffeurs Teamsters & Helpers Local            Los Angeles Machinists Benefit Trust
    Union 301 Health & Welfare Fund                 (Local 1186 Southern California
District #77 IAMAW Welfare Association -            Mechanics)
    Local 737 (St. Paul)                        Machinists' Money Purchase Pension Fund
District #9 IAMAW Pension Trust - Local         Management Labor Welfare & Pension
    777 (St. Louis)                                 Funds - Local 1730 ILA
District #9 IAMAW Welfare Trust - Local         Mechanics Motor City Lodge No. 698
    777 (St. Louis)                             Mechanics Motor City Lodge No. 698, IAM
East Bay Drayage Drivers Security Fund              Welfare Fund
    (Local 70)                                  Michigan Conference of Teamsters Welfare
Employers-Teamsters Local #175 & 505                Fund
    Pension Fund                                Mid-Jersey Trucking Industry Local 701
Employer-Teamsters Local #175 & 505                 Welfare & Pension Fund
    Health & Welfare Fund                       Minnesota Teamsters - Minneapolis Office
Employer-Teamsters Local 175 & 505              Minnesota Teamsters Health & Welfare
    Health & Welfare Fund (JC 84)                   Plan
Employer-Teamsters Local 175 & 505              National IAM Pension Fund (SoCal 1186)
    Pension Fund (JC 84)                        New England Teamsters & Trucking
Freight Drivers & Helpers Local No. 557             Industry Pension Trust
    Pension Plan                                New England Teamsters Pension Trust
          Case 23-11069-CTG        Doc 371-3   Filed 08/30/23   Page 58 of 84




New York State Teamsters (Local 445)           Teamsters Local 287 (Teamster Benefit
New York State Teamsters Conference               Trust)
   Pension & Retirement Fund                   Teamsters Local 294
New York State Teamsters Council Health        Teamsters Local 493 Health Service &
   & Hospital Fund                                Insurance Plan
New York State Welfare Fund (Local 355 -       Teamsters Local 560 Benefit Funds (North
   BLT)                                           Jersey)
Northern New England Benefit Trust             Teamsters Local 617
OPEIU (TPA Corp. 401K) Santa Rosa &            Teamsters Local 639 Employers Health
   Bay Area                                       Trust
Oregon Teamsters National 401K Savings         Teamsters Local 639 Employers Pension
   Plan                                           Trust
Oregon Western Teamsters Welfare Fund          Teamsters Local 641 Pension Fund
Road Carriers Local 707 Health & Welfare       Teamsters Local 641 Welfare Fund
   Fund                                        Teamsters Local 671 Health Services &
Road Carriers Local 707 Pension Fund              Insurance Plan
Santa Rosa 665 (Teamster Benefit Trust)        Teamsters Local 677 Health Services &
Southwestern Pennsylvania & Western               Insurance Plan
   Maryland Area Teamsters & Employers         Teamsters Local Union No. 653 Health
   Pension Fund                                   Welfare & Insurance Fund
Suburban Teamsters of Northern Illinois        Teamsters Pension Trust Fund of
   Welfare & Pension Fund (Local 134)             Philadelphia & Vicinity - Teamsters
Suburban Teamsters of Northern Illinois           Health & Welfare Fund
   Welfare & Pension Fund (Local 179)          Teamsters Pension Trust Fund of
Suburban Teamsters of Northern Illinois           Philadelphia & Vicinity - Teamsters
   Welfare & Pension Fund (Local 330)             Pension Fund
Suburban Teamsters Of Northern Illinois        Teamsters Union 25 Health Services &
   Welfare & Pension Fund (Local 673)             Insurance Plan
TCU Pension Fund - BRAC 1908 MIA               Transportation Local 443 Health Service &
Teamsters 261 & Employers Welfare Fund            Insurance Plan
Teamsters 401(K) Jo/Milwaukee                  Truck Drivers Local 170 Health & Welfare
Teamsters 401(K) Joliet                           Fund
Teamsters Health Services & Insurance Plan     Union Local 705 Pt Pension Fund
   of Local 404                                Washington Teamsters National 401K
Teamsters Joint Council #83 of Virginia           Savings Plan
Teamsters Joint Council No 83 of Virginia      Western Conference of Teamsters National
   Health & Welfare Fund                          401K Savings Plan
Teamsters Joint Council No. 83 of Virginia     Western Conference of Teamsters
   Health & Welfare Fund                          Supplemental Benefit Trust Fund
Teamsters Joint Council No. 83 Of Virginia     Western Pennsylvania Teamsters &
   Pension Fund                                   Employers Pension Fund
Teamsters Local 251 Health Services &          Western Pennsylvania Teamsters &
   Insurance Plan                                 Employers Welfare Fund
Teamsters Local 2785 (Teamster Benefit         Western States Office & Professional
   Trust)                                         Employees Pension Fund
                                               Western Teamsters Welfare Fund
          Case 23-11069-CTG         Doc 371-3   Filed 08/30/23   Page 59 of 84




Western Teamsters Welfare Trust                 Wisconsin Health Fund
Western Teamsters Welfare Trust -
  Washington
           Case 23-11069-CTG       Doc 371-3   Filed 08/30/23   Page 60 of 84




                                    SCHEDULE 1(v)
                                         Unions

International Brotherhood of Teamsters
       Case 23-11069-CTG              Doc 371-3      Filed 08/30/23          Page 61 of 84




                                        SCHEDULE 2


                                               Name of Entity and/or Affiliate of
      Name of Entity Searched                                                                Status
                                                 Entity, that is a K&E Client
ACE American Insurance Co.                    Chubb Bermuda Insurance Ltd.                   Current
ACE Property & Casualty Insurance Co.
Chubb Bermuda Insurance
Chubb Ltd.
Federal Insurance Co.
Illinois Union Insurance Co.
Indemnity Insurance Co. of North America

Westchester Surplus Insurance Co.
ACE Global Multi-Credit LLC                   AEPF III 34 S.à r.l.                           Closed
Amissima Diversified Income ICAV              Apollo Capital Management, L.P.                Current
AP Kent Credit Master Fund LP                 Apollo EquityCo L.P.                           Current
Apollo Accord Master Fund III LLP             Apollo Global Management Inc.                  Current
Apollo A-N Credit Fund (Delaware) LP          Apollo Global Real Estate Management LP        Current
Apollo Atlas Master Fund LLC                  Apollo Infrastructure Opportunities Fund II    Closed
                                                 LP
Apollo Centre Street Partnership LP           Apollo Management International LLP            Current
Apollo Credit Funds ICAV                      Marc Rowan                                     Former
Apollo Credit Master Fund Ltd.
Apollo Credit Strategies Master Fund Ltd.
Apollo Lincoln Fixed Income Fund LP
Apollo Moultrie Credit Fund LP
Apollo Tactical Value SPN Investments LP
Apollo TR Enhances Levered Yield LLC
Apollo TR Opportunistic Ltd.
Aspen American Insurance Co.
Aspen American Insurance Co.
Athora Lux Invest
AEGIS London                                  Aegis Science Corporation                      Current
AFCO Credit Corp.                             BB&T Insurance Holdings, Inc.                  Current
                                              Truist Bank                                    Current
                                              Truist Financial Corporation                   Current
AIG Specialty Insurance Co.                   AIG DECO Fund I LP                             Current
American International Group UK Ltd.          AIG DECO Fund II LP                            Current
American International Reinsurance Co. Ltd.   National Union Fire Insurance Company of       Current
                                                  Pittsburgh, PA
Lex-London
       Case 23-11069-CTG               Doc 371-3    Filed 08/30/23        Page 62 of 84




                                              Name of Entity and/or Affiliate of
      Name of Entity Searched                                                             Status
                                                Entity, that is a K&E Client
National Union Fire Insurance Co. of
    Pittsburgh, PA
AlixPartners LLP                             Rainier Management Limited                   Closed
AlixPartners LLP                             Public Sector Pension Investment Board       Current
AlixPartners LLP                             Caisse de dépôt et placement du Québec       Current
                                             Ivanhoé Cambridge Inc.                       Former
Allianz Global Corporate & Specialty SE      Allianz Capital Partners GmbH                Closed
Allianz Global Risk US Insurance Co.         Pacific Investment Management Company,       Current
                                                 LLC
Allianz US Risks US Insurance Co.            PIMCO                                        Current
Altus Receivables Management Inc.            B&J Buyer, LLC                               Current
Brown & Joseph LLC                           B&J Parent Holdings, LLC                     Current
                                             Brown & Joseph Intermediate Holdings,        Current
                                                LLC
                                             Brown & Joseph LLC                           Current
                                             Incline Equity Partners                      Current
                                             Incline Management LP                        Current
                                             John C. Glover                               Current
                                             Justin L. Bertram                            Current
Alvarez & Marsal                             A&M Capital Advisors Europe, LLP             Former
                                             A&M Capital Advisors GP, LLC                 Former
                                             A&M Capital Advisors LLC                     Former
                                             A&M Capital Advisors LP                      Former
                                             A&M Capital Europe, SCSp                     Former
                                             A&M Capital Europe-GP Associates, LP         Former
                                             A&M Capital Opportunities Fund, LP           Current
                                             A&M Capital Opportunities-GP Associates,     Former
                                               LP
                                             A&M Capital Partners, LLC                    Current
                                             A&M Capital-GP Associates, LP                Former
                                             A&M Capital-GP Holdings, LP                  Former
                                             A&M Opportunities Fund                       Current
                                             Alvarez & Marsal AMCO Partners Fund, LP      Former

                                             Alvarez & Marsal Capital LLC                 Former
                                             Alvarez & Marsal Capital, LP                 Former
                                             Alvarez & Marsal Europe LLP                  Former
                                             Alvarez & Marsal Holdings LLC                Current
                                             Alvarez & Marsal Inc.                        Current



                                               2
       Case 23-11069-CTG            Doc 371-3    Filed 08/30/23       Page 63 of 84




                                           Name of Entity and/or Affiliate of
      Name of Entity Searched                                                         Status
                                             Entity, that is a K&E Client
                                          Alvarez & Marsal Partners Buyout Fund, LP   Former

                                          Alvarez & Marsal Partners Europe Buyout     Former
                                              Fund, LP
                                          Alvarez & Marsal Partners Europe Fund, LP   Former

                                          Alvarez & Marsal Partners Fund, LP          Former
                                          Alvarez & Marsal Partners Opportunities     Former
                                              Fund, LP
                                          AMCP Recycling Holdings, LLC                Closed
                                          AMCP Staffing Buyer Holdings, Inc.          Current
                                          AMCP Staffing Holdings GP, LLC              Current
                                          AMCP Staffing Holdings, LP                  Current
                                          AMCP Staffing Intermediate Holdings I,      Current
                                              LLC
                                          AMCP Staffing Intermediate Holdings II,     Current
                                              LLC
                                          AMCP Staffing Intermediate Holdings III,    Current
                                              LLC
                                          Barbara Gould                               Closed
                                          Cairns, Ben                                 Current
                                          Edward Simon Middleton                      Former
                                          Fleming, Richard                            Current
                                          Jonathan C. Marston                         Current
                                          Mark Firmin                                 Current
                                          Wesley Arthur Edwards                       Former
                                          Wing Sze Tiffany Wong                       Former
Arcadian                                  SiriusPoint Ltd.                            Closed
SiriusPoint Bermuda Insurance Co. Ltd.
AT&T Inc.                                 AT&T Billing Southeast, LLC                 Current
                                          AT&T Billing Southwest, LLC                 Current
                                          AT&T Communications of Indiana, Inc.        Current
                                          AT&T Communications of Indiana, LLC         Current
                                          AT&T Communications of New York Inc.        Current
                                          AT&T Communications of Texas, LLC           Current
                                          AT&T Communications of Virginia, LLC        Current
                                          AT&T Comunicaciones Digitales, S. de R.L.   Current
                                             de C.V.
                                          AT&T Corp.                                  Current
                                          AT&T Datacomm Holdings, LLC                 Current
                                          AT&T DataComm, L.P.                         Current


                                             3
       Case 23-11069-CTG             Doc 371-3    Filed 08/30/23       Page 64 of 84




                                            Name of Entity and/or Affiliate of
      Name of Entity Searched                                                          Status
                                              Entity, that is a K&E Client
                                           AT&T Global Communications Services Inc.    Current

                                           AT&T Inc.                                   Current
                                           AT&T Investment Fund IV, LLC                Current
                                           AT&T Investment Fund V, LLC                 Current
                                           AT&T Investment Fund VI, LLC                Current
                                           AT&T Investment Operations I, LLC           Current
                                           AT&T Investment Operations II, LLC          Current
                                           AT&T Management Services, LLC               Current
                                           AT&T Mobility II LLC                        Current
                                           AT&T Mobility LLC                           Current
                                           AT&T MVPD Group Holdings, LLC               Current
                                           AT&T Network Supply, LLC                    Current
                                           AT&T of Puerto Rico, Inc.                   Current
                                           AT&T of the Virgin Islands, Inc.            Current
                                           AT&T Services, Inc.                         Current
                                           AT&T Southeast Supply, LLC                  Current
                                           AT&T Southwest Supply, LLC                  Current
                                           AT&T Supply I, LLC                          Current
                                           AT&T Technical Services Company, Inc.       Current
                                           AT&T Teleholdings, Inc.                     Current
                                           AT&T West Supply, LLC                       Current
                                           DIRECTV, LLC                                Former
                                           Illinois Bell Telephone Co. LLC             Current
AXA XL                                     AXA Real Estate Investment Managers UK      Current
                                              Ltd.
Greenwich Insurance Co.                    AXA REIM SGP                                Current
XL Insurance Co. SE - Irish Branch         XL Global Services, Inc.                    Closed
Bank of America NA                         Banc of America Securities LLC              Current
                                           Bank of America Corp.                       Current
                                           Bank of America Securities Ltd.             Closed
                                           BofA Securities Inc.                        Current
                                           Merrill Lynch (Asia Pacific) Limited        Closed
Bank of Bermuda                            HSBC Global Services (UK) Limited           Former
                                           HSBC Holdings plc                           Current
Bank of New York Mellon                    Alcentra Limited                            Closed
BNY Mellon
Barrette Outdoor Living                    Angel Brothers Enterprises Ltd.             Current
Staker & Parson Cos. Inc.


                                             4
      Case 23-11069-CTG     Doc 371-3    Filed 08/30/23       Page 65 of 84




                                   Name of Entity and/or Affiliate of
      Name of Entity Searched                                                 Status
                                     Entity, that is a K&E Client
Bayard Advertising Agency         KKR Asia Limited                            Current
ExperSolve                        KKR Credit Advisors (EMEA) LLP              Closed
                                  KKR Credit Advisors (US) LLC                Current
                                  KKR Financial Services Company LLC          Current
                                  KKR Real Estate Select Trust Inc.           Closed
                                  Kohlberg Kravis Roberts & Co. LP            Current
                                  Kohlberg Kravis Roberts & Co., L.P.         Current
                                  Peter Stavros                               Closed
                                  Terrence Ing                                Former
Bed Bath & Beyond                 Alamo Bed Bath & Beyond Inc.                Current
                                  Bed Bath & Beyond Canada LP                 Current
                                  Bed Bath & Beyond of Annapolis Inc.         Current
                                  Bed Bath & Beyond of Arundel Inc.           Current
                                  Bed Bath & Beyond of Baton Rouge Inc.       Current
                                  Bed Bath & Beyond of Birmingham Inc.        Current
                                  Bed Bath & Beyond of Bridgewater Inc.       Current
                                  Bed Bath & Beyond of California Limited     Current
                                      Liability Co.
                                  Bed Bath & Beyond of California LLC         Current
                                  Bed Bath & Beyond of Davenport Inc.         Current
                                  Bed Bath & Beyond of East Hanover Inc.      Current
                                  Bed Bath & Beyond of Edgewater Inc.         Current
                                  Bed Bath & Beyond of Falls Church Inc.      Current
                                  Bed Bath & Beyond of Fashion Center Inc.    Current

                                  Bed Bath & Beyond of Frederick Inc.         Current
                                  Bed Bath & Beyond of Gaithersburg Inc.      Current
                                  Bed Bath & Beyond of Gallery Place LLC      Current
                                  Bed Bath & Beyond of Knoxville Inc.         Current
                                  Bed Bath & Beyond of Lexington Inc.         Current
                                  Bed Bath & Beyond of Lincoln Park Inc.      Current
                                  Bed Bath & Beyond of Louisville Inc.        Current
                                  Bed Bath & Beyond of Mandeville Inc.        Current
                                  Bed Bath & Beyond of Manhattan Inc.         Current
                                  Bed Bath & Beyond of Norman Inc.            Current
                                  Bed Bath & Beyond of Opry Inc.              Current
                                  Bed Bath & Beyond of Overland Park Inc.     Current
                                  Bed Bath & Beyond of Palm Desert Inc.       Current
                                  Bed Bath & Beyond of Paradise Valley Inc.   Current


                                    5
       Case 23-11069-CTG     Doc 371-3    Filed 08/30/23         Page 66 of 84




                                    Name of Entity and/or Affiliate of
       Name of Entity Searched                                                   Status
                                      Entity, that is a K&E Client
                                   Bed Bath & Beyond of Pittsford Inc.           Current
                                   Bed Bath & Beyond of Portland Inc.            Current
                                   Bed Bath & Beyond of Rockford Inc.            Current
                                   Bed Bath & Beyond of St. Louis Inc.           Current
                                   Bed Bath & Beyond of Towson Inc.              Current
                                   Bed Bath & Beyond of Virginia Beach Inc.      Current

                                   Bed Bath & Beyond of Waldorf Inc.             Current
                                   Bed Bath & Beyond of Woodbridge Inc.          Current
                                   Bed Bath and Beyond Inc.                      Current
                                   Bed 'n Bath Stores Inc.                       Current
                                   Deerbrook Bed Bath & Beyond Inc.              Current
                                   San Antonio Bed Bath & Beyond Inc.            Current
Belk Express                       Beijing Staples Commerce & Trade Co. Ltd.     Former
                                        (China)
Staples Inc.                       Belk Accounts Receivable LLC                  Closed
                                   Belk Administration LLC                       Closed
                                   Belk Center Inc., The                         Closed
                                   Belk Department Stores LP                     Closed
                                   Belk eCommerce LLC                            Closed
                                   Belk Gift Card Co. LLC                        Closed
                                   Belk International Inc.                       Current
                                   Belk Merchandising LLC                        Closed
                                   Belk Sourcing LLC                             Closed
                                   Belk Stores of Mississippi LLC                Closed
                                   Belk Stores of Virginia LLC                   Closed
                                   Belk Stores Services LLC                      Closed
                                   Belk Texas Holdings LLC                       Closed
                                   Belk, Inc.                                    Current
                                   Belk-Simpson Co., Greenville, South           Closed
                                       Carolina
                                   Essendant, Inc.                               Current
                                   Hong Kong Staples Brands Ltd.                 Current
                                   Jiangsu Staples Office Products Co. Ltd.      Former
                                       (China)
                                   Shenzhen Staples Commerce & Trade Co.         Former
                                       Ltd. (China)
                                   Staples (China) Investment Co. Ltd            Former
                                       (Shanghai)
                                   Staples (Shanghai) Company Limited            Former
                                       (China)


                                      6
Case 23-11069-CTG     Doc 371-3    Filed 08/30/23          Page 67 of 84




                             Name of Entity and/or Affiliate of
Name of Entity Searched                                                    Status
                               Entity, that is a K&E Client
                            Staples Argentina SA (Argentina)               Former
                            Staples Asia Investments Ltd. (Cayman)         Former
                            Staples Brands Consulting (Shenzhen) Co.       Current
                                Ltd.
                            Staples Brands Inc.                            Current
                            Staples Brands International Ltd.              Current
                            Staples Brands Sales, LLC                      Current
                            Staples Brasil Comercio de Materials para      Former
                                Escritorio Ltda. (Brazil)
                            Staples Canada Holdings III, Inc.              Current
                            Staples Canada Holdings, LLC                   Current
                            Staples Canada ULC                             Current
                            Staples Connecticut LLC (DE)                   Current
                            Staples Contract & Commercial Inc.             Current
                            Staples Cyprus Holdings L.P.                   Current
                            Staples Cyprus Holdings, Ltd.                  Current
                            Staples Cyprus Intermediary Holdings, Ltd.     Current

                            Staples Dutch Management BV                    Current
                            Staples E-Commerce (Shanghai) Co. Limited      Former
                                (China)
                            Staples E-Commerce (Tianjin) Co., Ltd.         Former
                                (China)
                            Staples Europe Holdings GP                     Current
                            Staples Global Holdings, Ltd.                  Current
                            Staples Global Markets, Inc.                   Current
                            Staples GP, LLC                                Current
                            Staples Hong Kong Investments Limited          Former
                                (Hong Kong)
                            Staples Inc.                                   Closed
                            Staples of Maryland LLC (DE)                   Current
                            Staples Procurement & Management               Current
                                Services PLC
                            Staples Project 2017, LLC                      Current
                            Staples Promotional Products Canada Ltd.       Current
                            Staples Shared Service Center (Europe) II      Current
                                BVBA
                            Staples Shared Service Center, LLC             Current
                            Staples Solutions BV                           Current
                            Staples Taiwan Branch                          Former
                            Staples Taiwan Corporation Limited             Former
                                (Cayman)

                              7
       Case 23-11069-CTG               Doc 371-3    Filed 08/30/23        Page 68 of 84




                                              Name of Entity and/or Affiliate of
      Name of Entity Searched                                                             Status
                                                Entity, that is a K&E Client
                                             Staples the Office Superstore LLC            Current
                                             Staples the Office Superstore LLC            Current
                                             Staples Value, LLC (VA)                      Current
                                             Staples Ventures, LLC                        Current
                                             Staples, Inc.                                Current
                                             Stefan Kaluzny                               Current
                                             Sycamore Partners A LP                       Current
                                             Sycamore Partners Associates Co-Invest LP    Current

                                             Sycamore Partners Associates Investments     Current
                                                 LP
                                             Sycamore Partners Associates LP              Current
                                             Sycamore Partners Associates-C LP            Current
                                             Sycamore Partners Co-Invest LLC              Current
                                             Sycamore Partners II, LP                     Current
                                             Sycamore Partners III LP                     Current
                                             Sycamore Partners LP                         Current
                                             Sycamore Partners Management LP              Current
                                             Sycamore Partners Management, L.P.           Current
                                             Sycamore Partners Torrid LLC                 Current
                                             The Staples Group, Inc.                      Current
                                             USR Parent Inc.                              Current
                                             USR Parent Inc.                              Current
Berkshire Hathaway International Insurance   Berkshire Hathaway Inc.                      Current
    Ltd.
BNSF Railway Co.                             BHE Renewables, LLC                          Current
National Fire & Marine Insurance Co.         BHER Power Resources Inc.                    Current
PacifiCorp                                   BNSF Logistics International LLC             Current
Pilot Travel Centers LLC                     BNSF Logistics LLC                           Current
RSUI Indemnity                               BNSF Railway                                 Current
SC Fuels                                     Burlington Northern Santa Fe, LLC            Current
Blue Cross & Blue Shield Illinois            Blue Cross Blue Shield of Illinois           Current
                                             Health Care Service Corporation              Current
BlueGrace Logistics                          Blue-Grace Group LLC                         Current
Blue-Grace Logistics LLC
BREIT Industrial Canyon                      Bilal Khan                                   Former
GPT Deer Park Terminal Owner LLC             Blackstone Advisors India Pvt. Ltd.          Current
GPT Operating Partnership LP                 Blackstone Alternative Credit Advisors LP    Current
GPT Orlando Terminal Owner LLC               Blackstone Asia                              Current


                                                8
       Case 23-11069-CTG           Doc 371-3     Filed 08/30/23          Page 69 of 84




                                           Name of Entity and/or Affiliate of
      Name of Entity Searched                                                            Status
                                             Entity, that is a K&E Client
GPT Santa Fe Springs Owner LP             Blackstone Energy Partners                     Former
Medline Industries                        Blackstone Group International Partners        Closed
                                              LLP, The
NewStar Equipment Finance I LLC           Blackstone Group, The                          Former
                                          Blackstone Growth LP                           Current
                                          Blackstone Inc.                                Current
                                          Blackstone Infrastructure Partners LP          Current
                                          Blackstone Life Sciences Advisors LLC          Current
                                          Blackstone Mortgage Trust Inc.                 Current
                                          Blackstone Property Partners Europe            Current
                                              Holdings SARL
                                          Blackstone Property Partners LP                Current
                                          Blackstone Real Estate Income Trust Inc.       Current
                                          Blackstone Real Estate Investment Trust        Current
                                          Blackstone Real Estate Partners                Current
                                          Blackstone Real Estate Partners Europe VII     Current

                                          Blackstone Tactical Opportunities Advisors     Former
                                              LLC
                                          Blackstone Tactical Opportunities Fund LP      Former
                                          BPP Parker Towers Property Owner LLC           Current
                                          BRE Atlas Property Owner LLC                   Closed
                                          BRE Newton Hotels Property Owner LLC           Closed
                                          BX CQP Target Holdco LLC                       Current
                                          David I. Foley                                 Current
                                          First Eagle Alternative Credit LLC             Current
                                          Gramercy Property Trust Inc.                   Closed
                                          Independent Directors of First Eagle Global    Current
                                              Opportunities Fund
                                          Khan, Bilal                                    Current
                                          Kush Patel                                     Current
                                          Prakash A. Melwani                             Former
                                          Strategic Office Partners                      Current
                                          Strategic Partners Fund Solutions              Closed
                                          The Blackstone Group International Partners    Current
                                              LLP
                                          Vikram Suresh                                  Current
Bridgestone Americas Inc.                 Azuga, Inc.                                    Closed
Canada Revenue Agency                     Canada Pension Plan Investment Board           Current
Canada, Government of, Receiver General   CPP Investment Board                           Current



                                             9
       Case 23-11069-CTG           Doc 371-3    Filed 08/30/23         Page 70 of 84




                                          Name of Entity and/or Affiliate of
      Name of Entity Searched                                                          Status
                                            Entity, that is a K&E Client
                                         CPPB Canada Inc.                              Closed
                                         CPPIB Asia Inc.                               Current
                                         LoanCore Capital, LLC                         Current
                                         Public Sector Pension Investment Board        Current
Canopius                                 Centerbridge Partners Europe LLP              Former
                                         Centerbridge Partners, L.P.                   Current
CenturyLink                              Lumen Technologies, Inc.                      Former
Chevron Products Co.                     Chevron Corporation                           Current
                                         Chevron USA Inc.                              Closed
Cintas Corp.                             Cintas Corporation                            Closed
Citadel Securities LP                    Citadel Americas LLC                          Current
                                         Citadel Enterprise Americas LLC               Closed
                                         Citadel LLC                                   Current
                                         Citadel Securities LLC                        Closed
CNA                                      CNA Holdings LLC                              Closed
CNA Surety                               Continental Casualty Company                  Current
Columbia Casualty                        Kevin Leidwinger                              Former
Continental Casualty
North Rock Insurance Co.
ConvergeOne Inc.                         Christopher J. Baldwin                        Current
Worldwide Express Operations LLC         CVC Advisers Company (Luxembourg) S.à         Former
                                            r.l.
                                         CVC Advisers Limited                          Current
                                         CVC Asia Pacific Limited                      Current
                                         CVC Credit Partners, LLC                      Current
                                         CVC European Equity V Limited                 Current
                                         WWEX Uni TopCo Holdings, LLC                  Closed
Cook, County of (IL), Treasurer          Ascend Justice                                Current
                                         Circuit Court of Cook County                  Current
                                         Circuit Court of Cook County's Domestic       Former
                                             Violence Division
Credit Suisse AG                         Anton Merlushkin                              Former
                                         Credit Suisse & Co. LLC                       Current
                                         Credit Suisse (Hong Kong) Limited             Former
                                         Credit Suisse AG                              Current
                                         Credit Suisse AG, Executive Board             Current
                                         Credit Suisse Asset Management, LLC           Closed
                                         Credit Suisse Group AG                        Current
                                         Credit Suisse Group AG, Executive Board       Current

                                           10
       Case 23-11069-CTG    Doc 371-3    Filed 08/30/23         Page 71 of 84




                                   Name of Entity and/or Affiliate of
      Name of Entity Searched                                                     Status
                                     Entity, that is a K&E Client
                                  Credit Suisse Securities (USA) LLC              Current
                                  Credit Suisse Securities Europe Ltd.            Closed
                                  Credit Suisse Securities, Sociedad de Valores   Closed
                                      SA
                                  Jay Kim                                         Closed
                                  Jim Barkley                                     Former
                                  Seema Khanna                                    Former
                                  Select Portfolio Servicing, Inc.                Current
                                  UBS AG, Board of Directors                      Current
                                  UBS AG, Hong Kong Branch                        Closed
                                  UBS AG, London Branch                           Current
                                  UBS Asset Management (Americas) Inc.            Current
                                  UBS Asset Management Funds Limited              Current
                                  UBS Corp.                                       Current
                                  UBS Group AG                                    Current
                                  UBS Hedge Fund Solutions LLC                    Current
                                  UBS International Infrastructure Fund II (A)    Former
                                     LP
                                  UBS International Infrastructure Fund II (B)    Former
                                     LP
                                  UBS International Infrastructure Fund II (C)    Former
                                     LP
                                  UBS Investment Bank                             Current
                                  UBS O'Connor LLC                                Current
                                  UBS Securities LLC                              Current
CVS Caremark                      Oak Street Health, LLC                          Current
Dell Marketing LP                 Dell Inc.                                       Current
                                  Dell Technologies Inc.                          Current
                                  Egon Durban                                     Current
                                  Mary Hannaford Conrad                           Current
                                  Silver Lake Partners L.P.                       Current
                                  Sumeru Equity Partners L.P.                     Current
Direct ChassisLink Inc.           GIC 22nd Street Holdings LLC                    Former
Medline Industries                GIC Infra Holdings Pte Ltd.                     Current
                                  GIC Private Markets Private Limited             Current
                                  GIC Pte. Ltd.                                   Current
                                  GIC Real Estate Inc.                            Current
                                  GIC Ventures Pte. Ltd                           Current
                                  Ora Investment Pte. Ltd.                        Closed
                                  Sepang Investment Pte Ltd                       Closed

                                    11
       Case 23-11069-CTG             Doc 371-3       Filed 08/30/23        Page 72 of 84




                                               Name of Entity and/or Affiliate of
      Name of Entity Searched                                                              Status
                                                 Entity, that is a K&E Client
Dun & Bradstreet Inc.                         CIAL Dun & Bradstreet                        Former
                                              The Dun and Bradstreet Corporation           Former
DuPont                                        E. I. du Pont de Nemours and Co. Inc.        Current
Multi-Base Inc.
East West Bank                                Maytal Shainberg                             Current
Echo Global Logistics Inc.                    Echo Global Logistics Inc.                   Current
General Electric Co.                          Echo Logistics India PVT Ltd.                Current
                                              General Electric Co.                         Current
                                              General Electric Company, UK                 Current
                                              Jordan Co. LP, The                           Former
                                              TJC, LP                                      Current
                                              Watchfire Technologies Holdings, Inc.        Current
EmergIn Risk                                  R-T Specialty LLC                            Current
RT Specialty                                  Ryan Specialty Group                         Current
                                              Ryan Specialty International Ltd.            Current
                                              Ryan Specialty Nordics AB                    Current
                                              Ryan Specialty Service Centre Ltd.           Current
Environmental Protection Agency               Konstantina Diamantopoulos                   Current
Environmental Protection Agency
Federal Motor Carrier Safety Administration

United States, Government of the
United States, Government of the,
    Department of Defense
United States, Government of the,
    Department of Labor, Occupational
    Safety and Health Administration
United States, Government of the,
    Department of the Treasury
United States, Government of the,
    Department of the Treasury, Internal
    Revenue Service
United States, Government of the,
    Environmental Protection Agency, 68th
    Street Site Work Group
EverBank Commercial Finance Inc.              David J. Sreter                              Current
                                              HTDK (Shanghai) Co., Ltd.                    Closed
                                              Jeffrey Perlman                              Current
                                              John Rowan                                   Closed
                                              UBS Securities LLC                           Closed
                                              UBS Warburg                                  Current

                                                12
       Case 23-11069-CTG           Doc 371-3    Filed 08/30/23         Page 73 of 84




                                          Name of Entity and/or Affiliate of
      Name of Entity Searched                                                          Status
                                            Entity, that is a K&E Client
                                         Vishal Mahadevia                              Current
                                         Warburg Pincus Asia LLC                       Current
                                         Warburg Pincus Asia LLC                       Closed
                                         Warburg Pincus Asia Real Estate, L.P.         Current
                                         Warburg Pincus Capital Corp. I-A              Current
                                         Warburg Pincus Capital Corp. I-A              Current
                                         Warburg Pincus Capital Corp. I-B              Current
                                         Warburg Pincus Global Growth LP               Current
                                         Warburg Pincus Global Growth XIV              Current
                                         Warburg Pincus LLC                            Current
                                         WP Financial L.P.                             Closed
EverBank Commercial Finance Inc.         Reverence Capital Partners LLC                Current
                                         Reverence Capital Partners Opportunities      Former
                                            Fund II LP
EverBank Commercial Finance Inc.         Sixth Street Partners, LLC                    Current
Factor Systems Inc.                      Baring Private Equity Asia Limited            Current
                                         EQT AB                                        Current
                                         EQT Exeter Holdings US Inc.                   Current
                                         EQT IX Investments SARL                       Current
                                         EQT Partners Inc.                             Current
                                         EQT VII Ltd.                                  Closed
Fern Exposition Services                 MSouth Equity Partners, LLC                   Former
Fidelity Workplace Services LLC          Azalea Investment Management Pte Ltd.         Current
                                         Decarbonization Partners I Master SCS         Current
                                         Fidelity Investments                          Current
                                         Fidelity National Financial Inc.              Current
                                         Temasek Holdings (Pte.) Ltd.                  Closed
Fleet Charge                             Dr. Ing. h.c. F. Porsche AG                   Current
                                         Kunststiftung Volkswagen                      Closed
                                         Porsche Cars North America, Inc.              Current
                                         Volkswagen AG                                 Current
                                         Volkswagen Group of America, Inc.             Closed
FleetPride Corp.                         American Securities LLC                       Current
FleetPride Corp.                         Ridgemont Equity Partners                     Current
OMNI Logistics
Unishippers Global Logistics LLC
FTI                                      FTI Consulting Inc.                           Former
                                         John Howard Batchelor                         Current


                                           13
       Case 23-11069-CTG              Doc 371-3     Filed 08/30/23          Page 74 of 84




                                              Name of Entity and/or Affiliate of
      Name of Entity Searched                                                               Status
                                                Entity, that is a K&E Client
                                             Kenneth Fung                                   Current
Gallagher Affinity Insurance Services Inc.   Arthur J. Gallagher & Co.                      Current
GardaWorld Security Services                 BC Partners                                    Current
                                             BC Partners Credit                             Closed
Grainger                                     W.W. Grainger, Inc.                            Closed
Imperial Supplies LLC
Honda Motor Europe Logistics                 American Honda Finance Corp.                   Current
                                             American Honda Motor Company                   Current
                                             Honda Manufacturing of Alabama LLC             Current
                                             Honda Manufacturing of Indiana, LLC            Current
                                             Honda Motor Company, Ltd.                      Current
                                             Honda of America Manufacturing, Inc.           Current
Honeywell Scanning & Mobility                Honeywell ASASCO 2 LLC                         Closed
                                             Honeywell ASASCO LLC                           Closed
                                             Honeywell Holdings International Inc.          Closed
                                             Honeywell International Inc.                   Current
                                             UOP LLC                                        Current
Houlihan Lokey Inc.                          Houlihan Lokey EMEA, LLP                       Current
                                             Houlihan Lokey Inc.                            Current
Hub Group Inc.                               David Yeager                                   Current
Unyson                                       Hub Group, Inc.                                Current
Huron Consulting Group Inc.                  Huron Consulting Group                         Current
Hyundai America Shipping Agency Inc.         Hyundai Capital America, Inc.                  Closed
Hyundai Translead                            Hyundai Cha Funding Corporation                Closed
                                             Hyundai Floorplan Master Owner Trust           Closed
IBM Corp.                                    IBM Corp.                                      Current
                                             International Business Machines Corp.          Closed
                                             Red Hat, Inc.                                  Current
ING Capital LLC                              ING Bank N.V.                                  Current
                                             ING Capital LLC                                Current
International Brotherhood of Teamsters       Teamster Buyer Inc.                            Former
Teamsters National 401K Savings Plan         Teamster Intermediate Holdings Inc.            Former
                                             Teamster TopCo LLC                             Former
JL Clark Inc.                                Henry Crown and Co.                            Current
JPMorgan Chase Bank NA                       Andrew Cohen                                   Current
                                             Highbridge Capital Management, LLC             Current
                                             J.P. Morgan AG                                 Closed


                                               14
       Case 23-11069-CTG      Doc 371-3    Filed 08/30/23        Page 75 of 84




                                     Name of Entity and/or Affiliate of
      Name of Entity Searched                                                     Status
                                       Entity, that is a K&E Client
                                    J.P. Morgan Asset Management Private          Current
                                         Equity Group

                                    J.P. Morgan Investment Management Inc.        Current
                                    J.P. Morgan Securities Asia Pacific Limited   Current

                                    J.P. Morgan Securities LLC                    Current
                                    J.P. Morgan Securities plc                    Current
                                    JP Morgan Asset Management                    Current
                                    JP Morgan Securities (Far East) Ltd.          Current
                                    JPMorgan Asset Management (Australia)         Closed
                                       Limited
                                    JPMorgan Asset Management (Europe)            Current
                                       SARL
                                    JPMorgan Asset Management (UK) Ltd.           Current
                                    JPMorgan Chase & Co.                          Closed
                                    JPMorgan Chase Bank NA                        Former
                                    JPMorgan Chase Bank National Association      Closed

                                    JPMorgan Funds Limited                        Current
                                    JPMorgan Infrastructure Investments Fund      Current

                                    JPMorgan Investment Management Inc. -         Current
                                       Global Special Situations
                                    JPMorgan Investment Management Inc. -         Current
                                       Infrastructure Investment Group
                                    JPMorgan Securities LLC                       Closed
                                    Kerwin Clayton                                Former
Kenco Logistic Services LLC         Kenco Canada Inc.                             Current
                                    Kenco Fleet Services LLC                      Current
                                    Kenco Logistic Services LLC                   Current
                                    Kenco Management Services LLC                 Current
                                    Kenco PPC Buyer LLC                           Current
                                    Kenco PPC Holdings LLC                        Current
                                    Kenco PPC Intermediate LLC                    Current
                                    Kenco Transportation Management LLC           Current
                                    Kenco Transportation Services LLC             Current
Keurig Dr. Pepper Inc.              Keurig Dr Pepper Inc.                         Current
KPMG LLP                            KPMG (HK)                                     Current
                                    KPMG Auditores, S.L.                          Closed
                                    KPMG International Ltd.                       Current


                                      15
       Case 23-11069-CTG          Doc 371-3       Filed 08/30/23         Page 76 of 84




                                            Name of Entity and/or Affiliate of
      Name of Entity Searched                                                            Status
                                              Entity, that is a K&E Client
                                           KPMG International Services Ltd.              Current
                                           KPMG Law Firm                                 Current
                                           KPMG LLP                                      Current
                                           KPMG LLP (Canada)                             Current
                                           KPMG LLP (Singapore)                          Former
Lockton                                    LIG, LLC                                      Current
Lytx Inc.                                  Brandon Nixon                                 Current
                                           Brian Ruder                                   Current
                                           Doron Lurie                                   Current
                                           Lytx Holdings, LLC                            Former
                                           Lytx, Inc.                                    Former
                                           Permira Advisers (London) Ltd.                Current
                                           Permira Advisers LLC                          Current
                                           Permira Advisers Ltd.                         Former
                                           Permira Credit Solutions III G.P. Limited     Current
                                           Permira Holdings Ltd.                         Current
                                           Ryan G. Lanpher                               Current
                                           Thomas Phillip Guinand                        Former
Marsh USA Inc.                             Stone, Susan                                  Closed
Medline Industries                         Hellman & Friedman LLC                        Current
Vantage Risk Ltd.                          Hellman & Friedman LLC                        Current
                                           Stephen H. Ensley                             Current
Medline Industries                         AlpInvest Partners B.V.                       Current
Sedgwick Claims Management Services Inc.   Carlyle Asia Growth Partners IV LP            Closed

Vantage Risk Ltd.                          Carlyle Asia Investment Advisors Limited      Current
                                           Carlyle Asia Partners IV LP                   Current
                                           Carlyle Aviation Fund Management LLC          Closed
                                           Carlyle Global Credit Investment              Current
                                               Management LLC
                                           Carlyle Group, The                            Closed
                                           Carlyle Hong Kong Equity Management           Closed
                                               Limited
                                           Carlyle Infrastructure Fund LP                Current
                                           CECP Advisors LLP                             Closed
                                           CIM Global LLC                                Current
                                           James Larocque                                Current
                                           Matthew O'Connor                              Current
                                           Medline Industries, Inc.                      Current


                                             16
      Case 23-11069-CTG          Doc 371-3        Filed 08/30/23        Page 77 of 84




                                            Name of Entity and/or Affiliate of
      Name of Entity Searched                                                           Status
                                              Entity, that is a K&E Client
                                           Sedgwick Claims Management Services, Inc.    Current

                                           TCW Direct Lending VIII LLC                  Current
                                           The Carlyle Group                            Current
Mercedes-Benz Financial Services USA LLC   Mercedes-Benz Grand Prix Limited             Current

Milestone Equipment Corp.                  Barings LLC                                  Current
                                           Partners Group (Guernsey) Ltd.               Current
                                           Partners Group (Singapore) Pte. Ltd.         Current
                                           Partners Group (USA) Inc.                    Closed
                                           Partners Group Holding AG                    Current

                                           Partners Group Private Equity (Luxembourg)   Closed
                                               S.à r.l
Mode Transportation LLC                    Mode Transportation, LLC                     Current
                                           York Capital Management                      Current
                                           York Capital Management Europe (UK)          Closed
                                              Advisor LLP
Motus LLC                                  Motus Group LLC                              Current
                                           Motus Holdco LLC                             Current
                                           Motus LLC                                    Current
                                           Motus Operations LLC                         Current
                                           New Motus HoldCo LLC                         Current
                                           Runzheimer Canada Co.                        Current
                                           Runzheimer International LLC                 Current
                                           Thoma Bravo Discover Fund III LP             Current
                                           Thoma Bravo Fund XII LP                      Current
                                           Thoma Bravo Fund XII LP                      Current
                                           Thoma Bravo Fund XIII LP                     Closed
                                           Thoma Bravo Fund XV LP                       Current
                                           Thoma Bravo Growth Fund LP                   Closed
                                           Thoma Bravo LLC                              Current
                                           Thoma Bravo LP                               Current
                                           Thoma Bravo Oasis Fund LP                    Current
                                           Thoma Bravo Topco LLC                        Current
Nations Equipment Finance                  SLR Capital Partners, LLC                    Current
NATMI LPF Bloomington LP                   Jones Lang LaSalle Group                     Current
                                           Jones Lang LaSalle Income Property Trust     Closed

                                           LaSalle Investment Management                Current


                                             17
       Case 23-11069-CTG               Doc 371-3    Filed 08/30/23        Page 78 of 84




                                              Name of Entity and/or Affiliate of
       Name of Entity Searched                                                            Status
                                                Entity, that is a K&E Client
New York, State of, Department of Taxation   New York State Courts Access to Justice      Current
   & Finance                                    Program
Nissan North America Inc.                    Nissan Motor Co., Ltd.                       Closed
NTT Data Services LLC                        NTT America, Inc.                            Former
Offen Petroleum LLC                          Court Square Advisor, LLC                    Current
                                             Court Square Capital Management LP           Current
                                             Court Square Capital Managers III, L.P.      Current
Old Republic General Insurance Corp.         Old Republic International Corp.             Current
Old Republic Insurance Co.                   Old Republic National Title Holding Co.      Current
Old Republic Insurance Co. of Canada
Old Republic Risk Management Inc.
Oracle America Inc.                          Oracle America Inc.                          Closed
                                             Oracle Corporation                           Current
                                             Oracle International Corporation             Closed
PAC Operating LP                             Prologis                                     Current
Prologis LP
Prologis Targeted US Logistics Fund LP
Prologis USLV NEWCA 3 CA
Prologis USLV NEWCA 3 LLC
Prologis USLV NEWCA 3 LP
Prologis USLV SUBREIT 4 LLC
Packaging Corporation of America             Packaging Corporation of America             Current
Pennsylvania, Commonwealth of,               Office of the General Counsel of             Current
    Department of Revenue                        Pennsylvania
                                             Office of the Governor of Pennsylvania       Current
                                             Office of the Secretary of State of          Current
                                                 Pennsylvania
                                             Pennsylvania Higher Education Assistance     Closed
                                                 Agency
                                             Pennsylvania, Commonwealth of, Office of     Closed
                                                 the Secretary
People's United Bank NA                      Wilmington Trust-London Limited              Current
Wilmington Trust Co.
Ply Gem Industries Inc.                      Cornerstone Building Brands, Inc.            Current
PNC Bank                                     The PNC Financial Services Group, Inc.       Closed
PNC Bank NA
Progistics Distribution Inc.                 Greenbriar Equity Fund III LP                Closed
                                             Greenbriar Equity Fund III-A LP              Closed
                                             Greenbriar Equity Group LP                   Current


                                               18
       Case 23-11069-CTG    Doc 371-3    Filed 08/30/23          Page 79 of 84




                                   Name of Entity and/or Affiliate of
      Name of Entity Searched                                                    Status
                                     Entity, that is a K&E Client
                                  Noah Blitzer                                   Current
Radius Bank                       LendingClub Corporation                        Current


Revlon Inc.                       Harland Clarke Corp.                           Former
                                  MacAndrews & Forbes Holdings, Inc.             Closed
                                  MAFCO Worldwide LLC                            Closed
                                  Revlon, Inc.                                   Current
                                  Vericast Corp.                                 Current
Rite Aid Corp.                    Rite Aid Corporation                           Current
                                  Rite Aid Drug Palace Inc.                      Current
                                  Rite Aid Foundation                            Current
                                  Rite Aid Fund I LP                             Current
                                  Rite Aid Fund II LP                            Current
                                  Rite Aid Headquarters Corp.                    Current
                                  Rite Aid Headquarters Funding Inc.             Current
                                  Rite Aid Health Solutions LLC                  Current
                                  Rite Aid Lease Management Co.                  Current
                                  Rite Aid of Alabama Inc.                       Current
                                  Rite Aid of Connecticut Inc.                   Current
                                  Rite Aid of Delaware Inc.                      Current
                                  Rite Aid of Florida Inc.                       Current
                                  Rite Aid of Georgia Inc.                       Current
                                  Rite Aid of Illinois Inc.                      Current
                                  Rite Aid of Indiana Inc.                       Current
                                  Rite Aid of Kentucky Inc.                      Current
                                  Rite Aid of Maine Inc.                         Current
                                  Rite Aid of Maryland Inc.                      Current
                                  Rite Aid of Massachusetts, Inc.                Current
                                  Rite Aid of Michigan Inc.                      Current
                                  Rite Aid of New Hampshire Inc.                 Current
                                  Rite Aid of New Jersey Inc.                    Current
                                  Rite Aid of New York Inc.                      Current
                                  Rite Aid of North Carolina Inc.                Current
                                  Rite Aid of Ohio Inc.                          Current
                                  Rite Aid of Pennsylvania LLC                   Current
                                  Rite Aid of South Carolina Inc.                Current
                                  Rite Aid of Tennessee Inc.                     Current
                                  Rite Aid of Vermont Inc.                       Current
                                  Rite Aid of Virginia Inc.                      Current

                                    19
      Case 23-11069-CTG    Doc 371-3    Filed 08/30/23        Page 80 of 84




                                  Name of Entity and/or Affiliate of
     Name of Entity Searched                                                  Status
                                    Entity, that is a K&E Client
                                 Rite Aid of Washington, D.C. Inc.            Current
                                 Rite Aid of West Virginia Inc.               Current
                                 Rite Aid Online Store Inc.                   Current
                                 Rite Aid Payroll Management Inc.             Current
                                 Rite Aid Political Action Committee          Current
                                 Rite Aid Realty Corp.                        Current
                                 Rite Aid Rome Distribution Center Inc.       Current
                                 Rite Aid Services LLC                        Current
                                 Rite Aid Specialty Pharmacy LLC              Current
                                 Rite Aid Transport Inc.                      Current
RoadNet Technologies             Aaron Gupta                                  Current
                                 Adrian R. Alonso                             Current
                                 Cheryl Cecchini Leahy                        Current
                                 Christian B. Sowul                           Current
                                 David A. Breach                              Current
                                 David Zwick                                  Current
                                 Fund II Foundation                           Current
                                 Greg Myers                                   Former
                                 James Morrill Ford                           Former
                                 James P. Hickey                              Current
                                 Joshua Niedner                               Current
                                 Justin Cho                                   Former
                                 Kristine Jurczyk                             Current
                                 Martin Taylor                                Current
                                 Michael Fosnaugh                             Current
                                 Monti Saroya                                 Former
                                 Nadeem Syed                                  Former
                                 Nicholas J. Prickel                          Former
                                 Nicolas Stahl                                Current
                                 Omnitracs LLC                                Current
                                 Omnitracs Topco LLC                          Current
                                 Omnitracs, LLC                               Current
                                 Rod M. Aliabadi                              Former
                                 Sam C. Payton                                Former
                                 Smith, Robert F.                             Current
                                 Solera, Inc.                                 Current
                                 Spireon Inc.                                 Former
                                 Stephen Seelbach                             Former
                                 Syed, Nadeem                                 Current

                                   20
      Case 23-11069-CTG            Doc 371-3    Filed 08/30/23          Page 81 of 84




                                          Name of Entity and/or Affiliate of
      Name of Entity Searched                                                           Status
                                            Entity, that is a K&E Client
                                         VEPF VI AIV I, Corp.                           Current
                                         VEPF VI FAF LP                                 Current
                                         Vincent L. Burkett                             Former
                                         Vista Capital Solutions Fund GP LLC            Current
                                         Vista Capital Solutions Fund LP                Current
                                         Vista Capital Solutions Fund-A LP              Current
                                         Vista Consulting Group Inc.                    Current
                                         Vista Consulting Group, Inc.                   Current
                                         Vista Credit Opportunities Fund I - 6Y, L.P.   Current

                                         Vista Credit Opportunities Fund I FAF, L.P.    Current

                                         Vista Credit Opportunities Fund I, L.P.        Current
                                         Vista Credit Opportunities Fund II, L.P.       Current
                                         Vista Credit Opportunities Fund II-A, L.P.     Current
                                         Vista Credit Opportunities Fund II-B, L.P.     Current
                                         Vista Credit Partners                          Current
                                         Vista Credit Partners Fund III GP LLC          Current
                                         Vista Credit Partners Fund III, L.P.           Current
                                         Vista Credit Partners Fund III-A LP            Current
                                         Vista Credit Partners III Onshore LLC          Current
                                         Vista Credit Partners LP                       Current
                                         Vista Equity Partners                          Current
                                         Vista Equity Partners Fund VI LP               Current
                                         Vista Equity Partners Fund VI-A, L.P.          Current
                                         Vista Equity Partners Fund VII LP              Closed
                                         Vista Equity Partners Management LLC           Current
                                         Vista Foundation Fund IV LP                    Closed
                                         Vista Fund VIII LP                             Current
                                         Vista Opportunistic Credit Fund, L.P.          Current
Ropes & Gray LLP                         Amy Wolf Malone                                Current
Samsung Electronics America Inc.         Samsung                                        Current
                                         Samsung Advanced Institute of Technology       Closed

                                         Samsung Austin Semiconductor LLC               Current
                                         Samsung Bioepis Co., Ltd.                      Current
                                         Samsung Electro-Mechanics Co. Ltd.             Current
                                         Samsung Electronics America Inc.               Current
                                         Samsung Electronics Co. Ltd.                   Current



                                           21
       Case 23-11069-CTG          Doc 371-3    Filed 08/30/23        Page 82 of 84




                                         Name of Entity and/or Affiliate of
      Name of Entity Searched                                                        Status
                                           Entity, that is a K&E Client
                                        Samsung Electronics Co., Ltd. Visual         Closed
                                           Display
                                        Samsung Electronics Latinoamerica Miami      Current
                                           Inc.
                                        Samsung Research America, Inc.               Current
                                        Samsung SDI America Inc                      Current
                                        Samsung Semiconductor Inc.                   Current
Siemens Financial Services Inc.         Be C&I Solutions Holding Pte. Ltd.           Current
                                        Marc Buncher                                 Current
                                        Siemens AG                                   Former
                                        Siemens Capital Company LLC                  Closed
                                        Siemens Convergence Creators Corporation     Closed

                                        Siemens Corp.                                Current
                                        Siemens Corporation USA                      Current
                                        Siemens Credit Warehouse, Inc.               Closed
                                        Siemens Demag Delaval Turbomachinery         Closed
                                            Inc.
                                        Siemens Electrical, LLC                      Closed
                                        Siemens Energy Inc.                          Current
                                        Siemens Financial Services Inc.              Closed
                                        Siemens Financial, Inc.                      Closed
                                        Siemens First Capital Commercial Finance,    Closed
                                            LLC
                                        Siemens Fossil Services, Inc.                Closed
                                        Siemens Gamesa Renewable Energy SA           Current
                                        Siemens Gamesa Renewable Energy, Inc.        Current
                                        Siemens Generation Services Company          Closed
                                        Siemens Government Technologies, Inc.        Closed
                                        Siemens Healthcare Diagnostics Inc.          Closed
                                        Siemens Healthcare Diagnostics Ltd.          Closed
                                        Siemens Healthcare GmbH                      Closed
                                        Siemens Healthcare Ltd.                      Closed
                                        Siemens Healthineers AG                      Closed
                                        Siemens Industry Inc.                        Current
                                        Siemens Industry Software Inc.               Current
                                        Siemens Medical Solutions USA Inc.           Closed
                                        Siemens Molecular Imaging, Inc.              Closed
                                        Siemens Postal, Parcel & Airport Logistics   Closed
                                            LLC



                                          22
         Case 23-11069-CTG             Doc 371-3    Filed 08/30/23         Page 83 of 84




                                              Name of Entity and/or Affiliate of
      Name of Entity Searched                                                              Status
                                                Entity, that is a K&E Client
                                             Siemens Power Generation Service              Closed
                                                 Company, Ltd.
                                             Siemens Product Lifecycle Management          Closed
                                                 Software Inc.
                                             Siemens Public, Inc.                          Closed
                                             Siemens USA Holdings, Inc.                    Closed
                                             Siemens Wind Power, Inc.                      Closed
Simplified Logistics LLC                     Joost F. Thesseling                           Former
                                             Timothy Hall                                  Current
Sirius Computer Solutions                    CDW Corporation                               Current
                                             CDW LLC                                       Current
                                             SCS Holdings I Inc.                           Closed
                                             Sirius Computer Solutions Holdco, L.P.        Current
St. Paul Fire & Marine Insurance Co.         The Travelers Companies, Inc.                 Current
Travelers
Travelers of Canada
Stone Point Capital LLC                      Stone Point Capital LLC                       Current
TD Bank                                      TD Securities Inc.                            Closed
Tokio Marine HCC                             HCC Insurance Holdings, Inc.                  Current
U.S. Specialty Insurance Co.
Toyota                                       Bastian Solutions Inc.                        Current
Toyota Industries Commercial Finance Inc.

Transportation Insight LLC                   Gryphon Heritage Partners, L.P.               Current
                                             Gryphon Investors II, LLC                     Closed
                                             Gryphon Investors Inc.                        Current
                                             Gryphon Partners VI LP                        Current
                                             Keith H. Stimson                              Current
                                             Transportation Insight, LLC                   Current
Truckpro                                     Platinum Equity, LLC                          Current
Uber Freight US LLC                          Qifa Ke                                       Closed
                                             Uber Technologies, Inc.                       Closed
Uline Inc.                                   Brian Uihlein                                 Former
Uline Shipping Supply Specialists            Freddie Goldenberg                            Closed
                                             Richard E. Uihlein                            Current
                                             Richard E. Uihlein, Jr.                       Former
                                             Stephen Ellis Uihlein                         Current
Unite Private Networks                       NextGear Capital, Inc.                        Current



                                               23
       Case 23-11069-CTG             Doc 371-3    Filed 08/30/23        Page 84 of 84




                                            Name of Entity and/or Affiliate of
      Name of Entity Searched                                                            Status
                                              Entity, that is a K&E Client
US Bank NA                                 MUFG Union Bank, N.A.                         Current
Verizon Connect Telo Inc.                  Verizon Communications Inc.                   Current
Verizon Wireless
Volvo Financial Services                   AB Volvo                                      Current
Volvo Logistics North America Inc.         Volvo Car (Asia Pacific) Investment Holding   Closed
                                               Co. Ltd.
                                           Volvo Car AB                                  Closed
                                           Volvo Car Corporation                         Former
                                           Volvo Car Technology USA LLC                  Closed
                                           Volvo Car US Operations Inc.                  Closed
                                           Volvo Car US Operations USA LLC               Closed
                                           Volvo Car USA LLC                             Closed
                                           Volvo Cars USA LLC                            Closed
                                           Volvo Financial Services LLC                  Closed
Walmart Stores Inc.                        Walmart Inc.                                  Current
                                           Wal-Mart Stores Texas LLC                     Closed
Waste Management National Services Inc.    WM Intermediate LLC                           Current

                                           WM Parent Holding Company, LLC                Current
Wells Fargo                                Jon Kossow                                    Former
                                           Norwest Equity Partners                       Current
                                           Wells Fargo Bank, N.A.                        Current
                                           Wells Fargo Securities LLC                    Current
Wheels Up Experience Inc.                  Wheels Up Experience Inc.                     Current
Willis Towers Watson                       Willis Towers Watson plc                      Current
World Fuel Services Inc.                   World Fuel Services Corporation               Current




                                             24
